Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 1 of 83

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CLERK OF SUPERIOR COURT

CLARKE COUNTY, GEORGIA

IN THE SUPERIOR COURT OF CLARKE COUNTY w2Ut9CV0237 |

STATE OF GEORGIA APR 17, 2019 02:29 PM

CIVIL ACTION FILE NO. by KE
5 Oia ihc, coor
WARREN COOMBS, )
)
Plaintiff, )
)
vs. )
)
JERE W. MOOREHEAD, individually _)
and in his capacity as President of the )
University of Georgia, and the Board of)
Regents of the University System )
of Georgia, )
)
Defendants. )
COMPLAINT

Causes of Action (Preliminary Statement)

 

 

-l-

a) This is an action brought by the Plaintiff, WARREN COOMBS, a former student at
the University of Georgia, whereby Plaintiff was denied his due process rights in an
expulsion hearing, in violation of the Fourteenth Amendment to the US
Constitution, which says: "No state shall...deprive any person of life, liberty or
property, without due process of law"; and, in violation of Article 1, Section 1,
Paragraph 1 of the Georgia Constitution which reads: "No person shall be
deprived of life, liberty, or property except by due process of law"; and Article 1,
Section 1, Paragraph II of the Georgia Constitution which reads: "Protection to
person and property is the paramount duty of government and shall be

impartial and complete no person shall be denied equal protection of the laws."
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 2 of 83

b) Plaintiff, a citizen of Georgia, and a former student at the University of Georgia, a
public college, was entitled to "notice and some opportunity for a hearing" before
he could be expelled for any alleged misconduct.

5.

Defendants’ action expelling Plaintiff from school without "notice and some
opportunity for a hearing" is a violation of Plaintiff's contractual right to an education
at the University of Georgia. (See school's Bill of Rights marked as Exhibit J
attached hereto.)

Parties and Service

-3-

Plaintiff, WARREN COOMBS, is a former student at the University of
Georgia during the school year 2015 — 2016; he was expelled from the University of
Georgia, by letter of Defendant, JERE W. MOOREHEAD on September 8, 2016.

-4-

a) Defendant, JERE W. MOOREHEAD is the President of the University of
Georgia; and, he served as President during the school year 2015 — 2016.

b) Defendant, JERE W. MOOREHEAD may be served with a copy of this
Complaint and Summons at the University of Georgia, 220 South Jackson Street,
The Administration Building, Athens, Georgia 30602.

-5-

a) Defendant, Board of Regents of the University System of Georgia is the governing

body responsible for the operation of the University System of Georgia as provided

by the Constitution of the State of Georgia and laws enacted pursuant thereto. The
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University of Georgia is a member of the University System of Georgia, and is
governed and operated by the Defendant, Board of Regents of the University
System of Georgia.

b) The Defendant, the Board of Regents of the University System of Georgia may be
served by leaving a copy of this Complaint and Summons with Dr. Steve Wrigley,
Chancellor of the Board of Regents of the University of Georgia, 270
Washington Street, 8.W., Atlanta, GA 30334.

Jurisdiction and Venue

-6-

The Defendants, the Board of Regents of the University System of Georgia
and Defendant, JERE W. MOOREHEAD in his personal and official capacity as
President of the University of Georgia have no governmental immunity to suit and/or
liability against the Plaintiff's claims for violation of his rights and denial of due process;
and the wrongful denial of his contractual right to higher education at the University of
Georgia; this Court has the legal authority to correct the wrongful acts of the
Defendants. |

a7

Venue is proper in Clarke County, Georgia because the wrongful acts giving
rise to these causes of action occurred in Clarke County, Georgia.

Conditions Precedent

-8-
All conditions precedent have been performed. Plaintiff has complied with

exhausting his administrative appeal of the decision to expel him from the University of
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Georgia. The Defendant, Board of Regents of the University System of Georgia
rendered a final ruling denying Plaintiff's appeal on January 7, 2019 by an unsigned e-
mail. (A copy of e-mail is attached hereto, marked as Exhibit A.)

-9-

And, the Plaintiff by certified mail dated August 8, 2017, provided the State of
Georgia with notice of his claim against the State of Georgia for his wrongful expulsion
from the University of Georgia. A copy of the Ante Litem Notice of August 8, 2017 is
attached hereto, marked as Exhibit B.

Facts of the Case
-10-

On or about April 13, 2016, Plaintiff was suspended from the University of
Georgia pending the investigation of an alleged act of misconduct violating the school's
Non-Discrimination and Anti-Harassment Policy. See Exhibit C attached hereto.

-11-

The Plaintiff responded to the allegation of misconduct; he denied violating the
school's Non-Discrimination and Anti-Harassment Policy. See Exhibit D attached
hereto.

-12-

Defendant, JERE W. MOOREHEAD acknowledged receipt of the Plaintiff's

letter contesting the allegation of wrongdoing. See Exhibit E attached hereto.
-13-
By letter dated June 10, 2016 (Exhibit F attached hereto), the University of

Georgia notified the Plaintiff that the school had investigated the alleged act of
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 5 of 83

misconduct, and had found the allegations of the act of misconduct to be credible; and
after finding the allegations of the act of misconduct to be credible, he was expelled from
the University of Georgia.

-14-

The fact-finding body expelled Plaintiff from the University of Georgia without
giving him any opportunity to challenge the credibility of the adverse witnesses’
statements against him.

-15-

The fact-finding body expelled Plaintiff from the University of Georgia without

providing the Plaintiff with any information relevant to the alleged act of misconduct.
-16-

The fact-finding body expelled Plaintiff from the University of Georgia without
providing him with a list of adverse witnesses and a summary of their testimony, used in
to support the allegation of misconduct.

-17-

The fact-finding body expelled Plaintiff from the University of Georgia without

affording him a meaningful opportunity to be heard.
-18-

By letter dated June 22, 2016 (Exhibit G attached hereto), Plaintiff through his
attorney appealed to Defendant, JERE W. MOOREHEAD the school's ruling expelling
him, demanding a hearing to allow him to contest the truthfulness of the allegations of the

act of misconduct before an independent fact-finding body.
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-19-

By letter dated September 8, 2016 (Exhibit H attached hereto), Defendant,
JERE W. MOOREHEAD summarily denied Plaintiff's appeal, upholding the school's
expulsion without allowing Plaintiff to contest the truthfulness of the allegations of the
act of misconduct resulting in his expulsion.

-20-

Defendant, JERE W. MOOREHEAD knew that the Plaintiff was represented
by legal counsel on the appeal. Nevertheless, he failed, and refused to respond to
Plaintiff attorney's appeal of the school's decision of June 10, 2016.

’ -21-

Defendant, JERE W. MOOREHEAD did not notify the Plaintiff's attorney of
his final decision of September 8, 2016.

-22-

When Plaintiff obtained a copy of the school's final decision; the time to appeal
had run.

-23-

By way of an out-of-time appeal; the Plaintiff appealed the September 8, 2016
Decision of Defendant, JERE W. MOOREHEAD to Defendant, Board of Regents of
the University System of Georgia by letter of August 29, 2018 (see appeal, marked as
Exhibit I attached hereto).

-24-
Defendant, the Board of Regents of the University System of Georgia

summarily denied the Plaintiff's appeal on January 7, 2019 without considering any of
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 7 of 83

Plaintiff's concerns about the fairness of the proceedings resulting in his expulsion. (See
Defendant, Board of Regents of the University System of Georgia's decision marked
as Exhibit A, attached hereto.)
Cause of Action: Failure to Provide Due Process Rights
-25-
The Defendants failed to provide the following due process rights to assure the
granting of fundamental fairness in its consideration of Plaintiff's case:
a) Defendants failed to grant Plaintiff the right to counsel;
b) Defendants failed to grant Plaintiff the right to challenge the findings of the
school's investigator;
c) Defendants failed to grant Plaintiff the right to question his accuser and other
adverse witnesses;
d) Defendants failed to grant Plaintiff the right to a hearing before an
independent body; and
e) Defendants failed to provide to the Plaintiff, his constitutional rights of
fundamental fairness in the case resulting in his expulsion.
Cause of Action: Breach of Contract
-26-
The Defendants breached their contract to grant fundamental fairness in its
consideration of Plaintiff's case by failing to give to Plaintiff all of the procedural
protections they promised him upon his admission to the University of Georgia as set

out in the rules governing school discipline in the student handbook.
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WHEREFORE, Plaintiff demands:

1) that Defendants' action resulting in his expulsion be set aside, and the

expungement of any and all records concerning the expulsion;

2) that Plaintiff be allowed to return to the University of Georgia to complete

his education immediately;

3) that Plaintiff be awarded his costs, including reasonable attorney's fees for

this action;

4) that Plaintiff be awarded monetary compensation for financial and emotional

damage; and

5) that Plaintiff have such other relief that this Court believes to be fair and

equitable under the circumstances of this case.

This | day of

, 2019.

CP, submitted,
aus

Attorney for Plaintiff

P. O. Box 156

Augusta, GA 30903

706/724-7023

706/722-2095 (Fax)

GA State Bar No. 009836
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 9 of 83

STATE OF GEORGIA

a a

COUNTY OF RICHMOND

VERIFICATION
In person before the undersigned-attesting officer comes the undersigned party,
who on oath, deposes and states that all the allegations of facts contained in the foregoing

_petition are true and correct.

WARREN COOMBS

Sworn to and subscribed before me.

This__\_ day of Aw p 2019.

NOTARY PUBLIC
My Commission epireas® W 7, 202

 
3/26/2019 Case 3:19-cv-00054-CAR Documept1-1.Filed 05/30/19 Page 10 of 83

   
 

From: usg-legal <usg-legal@usg.edu> tr EXHIBIT ma
To: 'bathelaw93@aol.com' <bathelaw93@aol.com> ! prt
Subject: Warren Coombs
Date: Mon, Jan 7, 2019 5:29 pm

Dear Mr. Allen:

Thank you for your letter dated December 5, 2018. Given that President Morehead’s decision was issued on
September 8, 2016, and your client received notice of the decision in January 2017, your client’s appeal is
untimely and we decline to grant his request for review.

Sincerely,

Office of Legal Affairs
Board of Regents of the
University System of Georgia
270 Washington Street, SW
Atlanta, GA 30334

Phone: 404-962-3255

https://mail.aol.comAvebmail-std/en-us/printMessage
 

RAILS & WILSON LLC

ATTORNEYS AT LAW

  

 

 

RANDOLPH FRAILS, GA & SC Epwin A. WiLson, GA

RANDYFRAILS@FRAILSWILSONLAW.COM ‘ EDWINWILSON@FRAILSWILSONLAW.COM

TAMEKA HAYNES GA& MD . “4 KELLI SPENCER, GA

THAYNES @FRAILSWILSONLAW.COM . KELLISPENCER @FRAILSWILSONLAW.COM
August 8, 2017

CERTIFIED MAIL—RETURN RECEIPT REQUESTED
NUMBER: 7017 1450 0002 1141 0015

Risk Management Division

Department of Administrative Services, State of Georgia
Suite 1504; West Tower

200 Piedmont Avenue SE

Atlanta, GA 30334

ANTE LITEM NOTICE

RE: State Tort Claim Act
Claimant: Warren G. Coombs
Date of Loss: September 8, 2016,

To Whom It May Concern,

Please be advised that this letter is written pursuant to O.C.G.A. § 50-21-26 and
constitutes a notice of claim against the State. The State entity involved in this matter is
the Board of Regents of the University System of Georgia, specifically University of
Georgia at Athens. We are writing this letter on behalf of Warren G. Coombs, because of
his expulsion from University based upon the unsubstantiated claims of off-campus and
on-campus sexual assault by some fellow students.

Mr. Coombs was a 19-year-old freshman at UGA when he was accused of sexual
assault by two fellow students. The first incident allegedly occurred-on or about January
14 and 15, 2016. The second incident allegedly occurred on February 14, 2016.

Shortly after incidents, the University of Georgia Equal Opportunity Office
conducted investigations regarding both incidents and thereafter:

1. Expelled Mr. Coombs from the University of Georgia and designated him as
permanently ineligible for future admission or enrollment.

2. Barred Mr. Coombs from The University of Georgia campus and all UGA
owned property.
211 Pleasant Home Road, Suite Aj| Augusta, Georgia 30907 a

Tel: 706.855.6715 | Fax: 706.855.7631 ;
Be Toll Free: 888.855.6521 AE
Case 3:19-cv-00054-CAR Document 1-1_ Filed 05/30/19 Page 12 of 83

 

    
 

_ Barred Mr. Coombs from any off-campus functions or event hosted by UGA or
their affiliates.

a PS eT *

4. Threatened Mr. Coombs with arrest for trespass if he was found in violation of
items 1 through 3;

5. Demanded that: Mr. Coombs have no contact with either of the alleged
victims.

School disciplinary proceedings are not courts of law and therefore are not
equipped to ensure fundamental due process protections. As such there was no factual
basis for the school to issue severe sanctions in either case. As a result of the schools
actions, Mr. Coombs has suffered a violation of his Fourteenth Amendment due process
rights, freedom of association rights, and breach of contract regarding his education.

‘Mr. Coombs present and future and losses related to these claim exceed two
million dollars and any future amounts to be proven at trial.

This letter shall act as a “Notice of Claim” pursuant to O.C.G.Am§ 50-21-26, and is
therefore sent by certified mail, *

o-

Very truly yours,

   

andolph Frails

Cc: Christopher M. Carr,"Esq.
Office of the Attorney General

epartment of Law, State J udicial Building
40 Capital Square SW

Room 132

Atlanta, GA 30334-1300

CERTIFIED MAIL—RETURN RECEIPT REQ UESTED
NUMBER: 7017 1450 0002 1141 0022

-

Chancellor Steve Wrigley

The Board of Regents of the University System of Georgia
270 Washington Street SW

Atlanta, GA 30334

CERTIFIED MAIL—RETURN RECEIPT REQUESTED
NUMBER: 7017 1450 OOO2 1141 0039

 
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Help

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August 26, 2017

Product Tracking & Reporting

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A» Starting on Wednesday, July 26, 2017, the End of Day (EOD) report willbe disabled. This report is being suspended to investigate
improper use of the data that negatively impacts visibility and our customers’ tracking experience. The End of Day report is intentionally
unavailable and there is no system defect. Do not log a Help Desk ticket for this change. Thank you for your support.

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Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 15 of 83

 

 

 

 

 

 

178s

' The University of Georgia

 

Equal Opportunity Office

April 13, 2016

 

VIA HAND DELIVERY AND

EMAIL - WARREN.COOMBS25@UGA.EDU
Mr. Warren Coombs

Re: Notice of NDAH Policy Investigation, Interim Suspension & No Contact Directive

Dear Mr. Coombs:

| am the Assistant Director of UGA’s Equal Opportunity Office (EOO). The EOO
administers the University’s Non-Discrimination and Anti-Harassment (NDAR) Policy,
which is located at https://eoo.uga.edu/policies/non-discrimination-anti-harassment-policy. A
copy of the NDAH Policy is also enclosed, along with a copy of the EOO Bill of Rights &
Acknowledgments which oltlinés your rights under the NDAH Policy.

The EOO has received information allecing that you have engaged in non-consensual sexual
activity with two UGA students, i (in or about February 2016), and

(in or about January 2016). Non-consensual sexual activity between UGA students is a form
of sexual harassment that is prohibited under Section I.B of the NDAH Policy. Accordingly,
the EOO is opening an investigation into these alleged matters. As part of that investigative
process, you will be given the opportunity to respond to the allegations and related
information and evidence obtained by the EOO and to identify witnesses and present any
information or evidence you believe to be relevant.

INTERIM SUSPENSION

Pursuant to Section III.B of the NDAH Policy, which authorizes the use of interim protective
measures for the safety and well-being of the University community and individual members

_thereof, the EOO. has determined that an interim suspension during the pendency of the :
NDAH Policy investigation. is‘warranted. This means that once the interim suspension takes
effect as described ‘below, you are prohibited from attending any classes or engaging in any
academic activity associated with yqur enrollment as a UGA student or engaging in any
employment-related activity as a UGA employee. Further, you are not permitted to enter or
be present on any UGA campus or facility and you may not participate in any UGA
sponsored activity. An interim suspension does not indicate that a violation of the NDAH
Policy has occurred.

Unless you are otherwise notified by the EOO, the interim suspension will take effect at
noon (12 pm) on Thursday, April 14, 2016. Prior to that time, if you would like to respond
to the general nature of the allegations above or be heard on whether your presence on

119 Holmes-Hunter Building » Athens, Georgia 30602-1622
Telephone 706-542-7912 ® Fax 706-542-2822
‘The University of Georgia is an Eaual Opportunity /Affirmative Action Institution. All qualified persons will be considered without
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Mr. Warren Coombs
April 13, 2016
Page 2 of 3

campus poses a danger, you may contact the EOO Director/NDAH Officer/Title IX
Coordinator, E. Janyce Dawkins, at edawkins@uga.edu or (706) 542-7912.

Failure to comply with the interim suspension may provide an independent basis for
disciplinary action by the University.

NO-CONTACT DIRECTIVE

Also pursuant to Section III.B of the NDAH Policy, effective immediately and until further
notice from the EOO or the UGA President, you are directed not to initiate and to avoid any
contact with i and with including staying away from their
residences and any other Idcations where you know that one or the other of them is likely to
be. Prohibited contact includes, without limitation, in-person; phone, handwritten letter,
email, text, Facebook, Twitter or other electronic forms of communication/social media; any

attempts to communicate with either or a through their friends or family
members; and any communication by a third party witl ior on your
behalf.

Failure to comply with this no-contact directive may provide an independent basis for
disciplinary action by the University. .

APPEAL OF INTERIM PROTECTIVE MEASURES

Once each interim protective measure (i.e., the interim suspension and the no-contact
directive) takes effect, you have two (2) working (i.¢., business) days in which you may
appeal that particular interim protective measure in writing to the UGA President's Office at
president@uga.edu. Once each interim protective measure takes effect, you may also request
a hearing (meaning an opportunity to be heard) to determine whether the interim protective
measure should continue by contacting the UGA President’s Office at president@uga.edu.
Such hearing will be held within three (3) business days of the request. The interim
protective measures will remain in effect during any appeal or request to be heard unless

modified by the NDAH Officer or the President, or overturned by the President.
PROHIBITION AGAINST RETALIATION

The NDAH Policy prohibits retaliation against any person for making a report to the EOO,
for participating in the EOO*%s investigation of such a report, or for otherwise being
associated with an EOO investigation: Allegations of retaliation are separately investigated
by the EOO and, if substantiated, provide an independent basis for disciplinary action under
the NDAH Policy. Retaliation includes intimidation, discrimination, harassment or any other
adverse action or inaction against a person if motivated by a desire to punish that person for
seeking the assistance of the Equal.Opportunity Office or for cooperating with, or having any
association with, an EOO investigation. Therefore, you are prohibited from retaliating
against , or anyone else in connection with the foregoing no-
contact directive, your interim suspension, or the EOO’s investigation of the allegations
against you.

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—ereertna

Mr. Warren Coombs
April 13, 2016
Page 3 of 3

If you have any questions, you may reach me at cnorins@uga.edu or (706) 542-7912. If lam
not available, you may ask to speak with the EOO Director/NDAH Officer/Title IX
Coordinator, E. Janyce Dawkins.

Sincerely,

Ae xc

Clare Norins
EOO Assistant Director

Encl. Non-Discrimination and Anti-Harassment Policy
Bill of Rights and Acknowledgements for Complainaiits and Respondents
. . =

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®
Cc,. E. Janyce Dawkins, Equal Opportunity Office
Jimmy Williamson, University Police
Kathy Pharr, Office of University President
Victor K. Wilson, Vice President for Student Affairs
Bill McDonald, Dean of Students
Eric Atkinson, Assistant Vice President for Student Engagement
Barrett Malone, Director of Student Conduct
Mike Raeber, Legal Affairs
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To the president office,

 

This letter is an appeal to my interim protective measures. The
measures include an interim suspension and the no-contact directive
with two peopie. The interim protective measures will begin Thursday
at 12prn. The reason for the interim protective rneasures is because
there are allegations of me having non-consensual sexual activity with
two University of Georgia students during twe different occasions.
However this letter will explain these allegations accurately and
respectfully |

The first young lady, / who is accusing me of
sexual assault is not telling the truth about the situation. We met in
downtown Athens one night on a weekend. We had been dancing
together throughout the night. Once the bar started closing, she
grabbed my hand and led me outsic ee to a car, as she offered me to go
home with her. | do not remember if she was driving or her friends but
i was in the back seat. They took me to a iocation | was unfamiliar with.
Once | got into the house, there was about two or three other girls with
us. They were having conversation but since | did not know any of them
i stayed quiet. Soon her friend susgested that bring me
Upstairs to use one of the rooms. Since this was not my house, | had no
idea where she was talking about. | proceeded to grab my
hand and took me to whichever room ner friend was suggesting.

When we got into the room, she went and used the bathroom.
While she was in the restroom, | sat on the bed and texted. When she
came out of the restroom, | then laid back on the bed and she came on
top on me and started kissing me. While we were kissing, we began
removing our clothing. She only went down to bra and panties. My
pants were only pulled down halfway. She began to perform fellatio. |
remember jooking for a condor in my pockets while she was doing this
0 we Could nave intercourse. However, ) was not able to find one so |
did not pursue the act. After performing fellatio for a while, |
remember she grabbed my penis really hard and started crying. She
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 19 of 83

began to say, “This doesn’t fee! right. Why am | doing this?” Then in
haste, she hopped off of me and ran into another room and slammed
the door. Her friends downstairs heard her slam the coor and came
upstairs trying to see what was wrong. She let her friends in and then
locked the door. | knocked a few times trying to see if everything was
okay and no one responded. After being by myself in a house that ! did
not know and in a location | was unfamiliar with late at night, | decided
to call an Uber ensure | wouid get home safely. |

Furthermore, the second young iady, | : Who is also
accusing me of sexual assauit, is not telling the truth either.
has had relations with all my roommates and has known me since the
beginning of the year. The night where we all met ip downtown, it was

_ ner friend, and me. Ali three of us left together to go back to my
place. Once we got there, all three of us were in my room talking. After
about ten minutes, her friend got up and stated, “! havea boyfriend
and | don’t need to be in here’. I said okay and opened the door for and
she left the room. -... “ayed in the room and started texting. |
asked her if she was comfortable and she said everything is fine and she
just wanted to text someone for a moment. Once we started kissing,
she unbuttoned her Pants and slid them down. | asked her to perform
fellatio but she declined and proceeded to turn around and bend over. |
proceeded to put fingers near her vagina. As | started looking for
condoms in my drawer, she started to panic and she told me to stop. |
stopped and she started getting up. Her friend came knocking on the
door, which | opened for her. Her friend and | repeatedly asked if

. Was ok and she responded, “Yes everything is fine. have a
boyfriend so | really do not need to be doing this”. After that, her and
her friend both left.

Both of these young women are not teiling the truth about these
allegations. | did not have intercourse with either of them and | will be
willing to take a DNA test for evidence. | also have witness that can
share certain events that took place. | did not force myself upon them
at any time nor force them to perform any unwanted actions. | have
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 20 of 83

not had contact with these two girls since the situation took place and |
do not plan on communicating with either of them. The interim
suspension will effect my education, my job, and my friends and family.
| will not be able to pursue my education here nor finish my freshman
year because finals are coming up and | would not be able to attend
class. My GPA would be an inaccurate representation of my academic
abilities. Because the year is almost over, | would not have any place to
live and would have no way of making money to survive. After these
events were reported, | was suspended from the football team.
However, | decided to utilize my time in a productive manner and gota
job on campus to help serve the Bulldog community. | also decided to
work on my faith. | just recently joined my girlfriend’s church as I’m
trying to pursue a pure lifestyle.
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 21 of 83

  

 

 

 

 

 

(78s

The University of Georgia

 

Office of the President

April 19, 2016

Mr, Warren-Combs~- - > > a
1371 Waterston Drive “
Evans, Georgia 30809

Dear Mr, Combs:

On behalf of the Office of the President, I write to acknowledge receipt of your letter appealing
the recent decision of the Equal Oppertunity Office. The Office of the President will review
_ Your appeal and notify you once a decision is made.
. a
Sincerely, 3

bALpa

Arthur L. Tripp
Assistant to the President

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220 South Jackson Street ¢ The Administration Building * Athens, Georgia 30602-1661
“Telephone 706-542-1214 © Fax 706-542-9995

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Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 22 of 83

(ft)

‘78a s

The University of Georgia

 

 

 

 

 

 

Equal Opportunity Oftice
June 10, 2016

 

VIA EMAIL - wa rren.coombs25@uga.edu
Mr. Warren Coombs

 

Re: NDATI Violation & Expulsion

Dear Mr. Coombs:

1 am writing to let you know the findings of my investigation of fellow University of
Georgia (UGA) student s report that you engaged in non-consensual sexual
intercourse with her in the early morning hours of February 14. 2016 in your bedroom in UGA’s
Vandiver Residence Hall. You report that you did not engage in sexual intercourse with Ms.

As a representative of the University’s Equal Opportunily Office (EOO), I investigated
s report pursuant to the Non-Discrimination and Anti-Harassment Policy (NDAH

Policy), located at htps://eoo.uga.edwpoliciesMon-discrimination-anti-harassment-policv. This
Policy prohibits, among other things, sexual harassment, including rape, sexual assault and
sexual battery, all of which are forms of gender-based discrimination under Title IX of the
Education Amendments of 1972. Jt is the EOO’s obligation to thoroughly investigate all reports
or complaints of alleged conduct by any member of the UGA community that may violate the
NDAH Policy, to make an appropriate determination as to whether any violation(s) occurred,
and to impose an appropriate sanction and/or other remedial action as warranted |

In relevant part. the NDAIT Policy defines sexual harassment ag “[ujnwelcome ......
physical conduct of a sexual nature when:. . . [such conduct has the purpose or effect of: . . .
creating an intimidating, hostile or offensive . . . learning environment.” NDAH Policy, Sect.
LB. This includes. without limitation, “(pJhysical contact of a sexual nature perpetrated without
consent (e.g,, without clear words or actions that are knowingly, freely and actively given

 

"In this case, pursuant to Section HI.B (“Interim Protective Measures”) of the NDAH
Policy. the EOO interim suspended and barred you from campus during the pendency of
the EQO investigation, as well as directing you not to initiate and to avoid any contact
with ° , and putting you on notice that you could not retaliate against anyone
associated with the EOO investigation. The interim protective measures were upheld by
the UGA President's Office on your appeal. During the course of the EOO investigation,
you violated the terms of the interim protective measures at least twice by coming on
campus and entering a UGA residence hall, resulting in your arrest by the UGA Police
Department for trespass,

119 Holmes-Hunter Building * Athens, Georgia 30602-1622
Telephone 706-542-7912 ©« Fax 706-542-2822
‘The University of Georgia is an Equal Opportunity/Affirmative Action Institution. All qualified persons will be considered without
regard to race, color, religion, sex, national origin, disabilicy, pendee identity, sexual orientation ar protected veteran status,

 
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Warren Coombs
June 10, 2016
Page 2

indicating permission to engage in mutually agreed upon sexual activity) ....” Jd. When
investigating sexual harassment complaints under the University’s NDAH Policy, the EOO
defines “consent” as:

Clear words or actions that are knowingly, freely and actively given indicating
permission to engage in mutually agreed upon sexual activity. Consent may be
withdrawn at any time without regard to sexual activity preceding the withdrawal
of consent. The existence of a current or previous intimate relationship between
the parties is not alone sufficient to constitute consent. Consent may not be
inferred from silence or passivity alone. Non-consent occurs when the
complaining party is prevented from or incapable of giving consent (due to, for
example, use of drugs or alcohol, or physical or intellectual disability) and this
fact is known to the person committing the act.

See https://eoo.uga.edu/definitions/consent.2

In the course of the EOO investigation, I obtained and considered, without limitation:
information provided by you and by about the events of February 14, 2016;
information provided by the individual (Witness 1) who was present in your bedroom
immediately prior to the reported non-consensual sexual activity, outside the door of your
bedroom during the same reported activity, and with ‘immediately afterwards; text
messages between -id Witness | prior to and during the reported non-consensual
sexual activity; text messages between and your Vandiver Residence Hall suitemate
prior to and during the reported non-consensua! sexual activity; information provided by another
individual (Witness 2) who was with on February14 shortly after the reported non-
consensual sexual activity; and information regarding s undergoing a Sexual Assault
Nurse Examiner (SANE) exam on February 14, 2016 and the vaginal tearing reportedly
observed.

You and your attorney were given the opportunity to review and respond to the
allegations and related information contained in the EOO investigative file (including the
information described above); to identify witnesses; and to present any information, evidence or
arguments that you believed to be relevant, all of which were taken into consideration.

In viewing all of the information obtained in the course of the investigation, and applying
the standard of preponderance of the evidence (i.e., “more likely than not”), I find that you
engaged in sexual intercourse with in the early moming hours of February 14, 2016. I
find that this occurred without | consent. I therefore find that you engaged in conduct
that violated the NDAH Policy.

 

? There is no allegation in this case of incapacitation due to alcohol or other cause.

3 In a separate but concurrently-conducted EOO investigation, you have also been found to have
engaged in non-consensual sexual intercourse with another UGA student in J anuary 2016.
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 24 of 83

Warren Coombs
June 10, 2016
Page 3

Sanction

Given the severity of the foregoing NDAH Policy violation, and the substantial evidence
supporting it, effective as of the date of this letter:

e You are expelled from the University of Georgia and are permanently ineligible
for future admission or enrollment of any kind at UGA.

e You are barred from the University of Georgia campus and all UGA-owned
property, including but not limited to, all academic and administrative buildings,
residence halls, dining facilities, campus green spaces, and recreational and
athletic facilities.

e You are barred from any off-campus functions or events hosted by UGA-
affiliated groups or organizations, including UGA athletics and UGA fraternity
and sorority chapters.

@ Should you be found to be present on campus, on University property, or at an
off-campus event hosted by a UGA-affiliated group or organization, law
enforcement will be notified and you may be subject to arrest for trespass.

No Contact

For as long as is a student at UGA, including during semester breaks,
Maymester, and summer sessions when she may not be enrolled in classes, you are directed not
to initiate and to avoid any contact with her, including staying away from her place of residence
and any other locations where you know that she is likely to be. Prohibited contact includes,
without limitation, in-person; phone, email, text, Facebook, Twitter or other electronic forms of
communication/social media; any attempts to communicate with her through her friends or
family members; and any communication by a third party with m your behalf. Failure
to comply with this no-contact directive may result in a harassment complaint against you to law
enforcement.

No Retaliation

 

The NDAH Policy prohibits retaliation against any person for making a report of sexual
harassment to the EOO, for participating in the EOO’s investigation of such a report, or for
otherwise being associated with an EOO investigation. Retaliation includes intimidation,
discrimination, harassment or any other adverse action against a person if motivated by a desire
to punish that person for seeking the assistance of the Equal Opportunity Office or for
cooperating with, or having any association with, an EOO investigation. Therefore, neither you
nor anyone acting on your behalf may retaliate against. _ or against anyone else in
connection with the EOO’s investigation of ‘report or the outcome. Failure to
comply with this no-retaliation instruction may result in a harassment complaint against you to
law enforcement.
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 25 of 83

Warren Coombs
June 10, 2016
Page 4

Appeal Rights

The NDAH Policy gives any party (i.e., the complainant(s) and the respondent(s)) the
opportunity to appeal the outcome of the EOO’s investigation to the University President. To do
So, you must notify the Office of the President in writing that you want to appeal. This must be
done within ten (10) working days (i.e., business days) from the date of receipt of this letter.
Once the ten (10) day period has expired without your notifying the President’s Office that you
want to appeal, the findings become final and are not subject to further review. For more

information on the appeal process, please see Section III.E.IV (“Right to Appeal”) section of the
NDAH Policy.

If you have any questions or concerns about the investigation or anything in this letter,
please do not hesitate to contact me at (706) 542-4150 or cnorins@uga.edu.

Very truly yours,

Lo pfo—

Clare Norins
Assistant Director
Equal Opportunity Office

Cc. Kim Stephens, Esq.
Janyce Dawkins, EOO Director/Title IX Coordinator
Jimmy Williamson, University Police Chief
Jan Hathcote, University Registrar
Kathy Pharr, Executive Assistant to the President
Victor K. Wilson, Vice President for Student Affairs
Bill McDonald, Dean of Students
Eric Atkinson, Assistant Vice President for Student Engagement
Michael Raeber, Office of Legal Affairs
J. Barrett Malone, Office of Student Conduct
 
 

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Stephens Law Firm, LLC

 

1551 Jennings Mill Road, Suite. 400-B REPLY TO:

Bogart, Georgia 30622
Telephone: (706) §48-3933 P.O. Box 1601
Facsimile: (706) 548-6229 . Athens, Georgia 30603-1601

June 22, 2016

Hon. Jere Morehead

President, University of Georgia
The Administration Building
220 S. Jackson Street

Athens, Georgia 30602

RE: Warren Coombs
Appeal of EEO Decisions of Violation of NDAH Policy

President Morehead:

L write this letter on behalf of and in conjunction with Warren Coombs to lodge his
appeal of the decision of the EOO who found that Mr. Coombs violated the University of
Georgia’s Non-Discrimination and Harassment policy (“NDAH”) by allegedly sexually
assaulting two University of Georgia CUGA”) students. In conjunction with the EOO’s finding,
Clare Norrins expelled Mr. Coombs from UGA. In addition, because he was well past the
midpoint of the spring semester when an interim suspension was imposed by the EOO, Mr.
Coombs academic transcript reflects him receiving failing and/or incomplete grades that will
become failing grades absent administrative action.

Mr. Coombs appeal is based upon the following:

(1) The investigation performed by the EOO did not warrant evidence from which it
could be established by a preponderence of the evidence that Mr. Coombs violated
the NDAH; and,

(2) The EQO failed to provide adequated due process as required by the United States
and Georgia Constitution (as further evidenced by the Board of Regents statewide
changes in policies and procedures in cases like Mr. Coombs). See Nash v. Auburn
University, 812 F.2d 655 (1987).

In order to adequately address the issues in this case, Mr. Coombs respectfully requests
30 (thirty) days to provide a memorandum and materials supporting this appeal. Please let me
know if this schedule is acceptable via electronic mail at stephenslaw.secure@gmail.com as soon
as possibic.

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With kindest regards, I am
Very truly yours,

/s/Kim T. Stephens

KTS/kts

Cc: Clare Norrins (via electronic mail only)
Arthur L. Tripp, Jr. (via electronic mail only)

Page 2 of 2
The University of Georgia “ 7 §

Oice: of the Presiden:

 

SENT VIA ELECTRONIC MAIL

September #, 2046

Me. Warren Coombs
WaITen.chombhs25 @ueu edis
Dear Mr. Coombe:

This letter is in sesponse to your June 10, 2016 appeals of the recent decisions rendered by the
Equal Opportunity Office (EQQ).

have caretuily considered your appeals and the recon! in both of these casey. Because t do not
tind a sufficient basis on which to coneluile that any of the fisetors set forth in the Non-
Discrimination and Anti-Harassment Policy for overturning or modifying an FOO devision have
been met, 1 must upheld the EOO's finding in these cases, This isthe final decision of the
University of Georgia in these matters.

if you wish to appeal this decision, you muy submit an application for discretionary review 10 Mr,
Samuel C, Burch, View Chancelior for Legul Aflairs, Board of Repents of the University System
of Georgia, 270 Washington Street, Adanta, Georgia 10334, within nweaty (20) valendar daya
from the date of this letter. You should include a copy of this teter with your application to Mr.
Bureh.

) Cn A
Jere W. Morehead
Presiden

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ca: E. Juinyce Dawkins, Director, Equal Opportunity Office
Arthur H. Leed, Associate Director for Legal Affairs

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BENJAMIN ALLEN & ASSOCIATES, P. C.
BENJAMIN ALLEN

ATTORNEY AT LAW.

 

August 29, 2018

Mr. Samuel C. Burch
Vice Chancellor for Legal Affairs
Board of Regents of

the University System of Georgia
270 Washington Street
Atlanta, GA 30334

Re: Warren Coombs
Appeal of President's Decision
Concerning Violation of NDAH Policy

Dear Mr. Burch:

This letter is Notice of Appeal of President Jere W. Morehead's findings, and
conclusions dated September 8, 2016, ruling Warren Coombs violated the school's
Non-Discrimination and Anti-Harassment Policy, resulting in Warren Coombs being
expelled from the University of Georgia (herein after, “school”) and being
permanently ineligible for future admission or enrollment at the school, (the President's
letter-ruling is attached hereto, marked as Exhibit A).

Warren Coombs’ request for an out-of-time should be granted.

This Out-of-Time Appeal is being requested; and the basis for granting the Out-
of-Time Appeal is:

The President's ruling was not timely given to Warren Coombs.

The President's ruling was e-mailed to an address controlled by the school, on or
about September 8, 2016.

However, there was a problem with the delivery of the ruling to Warren
Coombs. The response was not sent to Warren Coombs’ legal counsel, the person who

1127 LANEY-WALKER BLVD., AUGUSTA, GEORGIA 30901
(Mailing Address: P. O. Box 156, Augusta, GA 30903)

TELEPHONE (706) 724-7023 FAX (706) 722-2095
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Mr. Samuel C. Burch
Vice Chancellor for Legal Affairs
Board of Regents of

the University System of Georgia
August 29, 2018
Page 2

filed the appeal to the President. And, nor was it mailed to the home address of Warren
Coombs. The school had his home address; and, the home address was used by the
school at the beginning of this case. (See letter dated April 19, 2016, addressed to
Warren Coombs, acknowledging receipt of a letter he wrote to the President's
Office attached hereto, marked as Exhibit B.) The ruling was sent to a "bad" e-mail
address; an e-mail address controlled by the school; an e-mail address that Warren
Coombs could not access. (The school denied Warren Coombs access to the e-mail
account on April 13, 2016, the day it suspended him.)

The President's ruling was not given to Warren Coombs until sometime in
January 2017. See Exhibit C attached hereto. According to the President's ruling,
Warren Coombs had until September 28, 2016 to appeal the decision.

Because the problem in delivering the President’s ruling was caused by the
school, Warren Coombs could not timely appeal the President's decision through no
fault of his own. Therefore, the request for an Out-of-Time Appeal should be granted in
this matter.

Warren Coombs’ appeal has merit.

The appeal of Warren Coombs is based on the school's lack of procedural
safeguards in his case. And because of the lack of procedural safeguards, the process was
so fundamentally void of fairness that it created an environment that assured there would
be a finding of guilt no matter what the facts in the case show. The school failed to
provide the following due process rights to assure fundamental fairness in this case, as
follows:

1) the school failed to grant Warren Coombs the right to an attorney;

2) the school failed to grant Warren Coombs the right to present
evidence in his defense throughout the process;

3) the school failed to grant Warren Coombs the right to challenge the
investigator's findings;

4) the school failed to grant Warren Coombs the right to "question" the
accuser;

1127 LANEY-WALKER BLVD., AUGUSTA, GEORGIA 30901
(Mailing Address: P. O. Box 156, Augusta, GA 30903)

TELEPHONE (706) 724-7023 FAX (706) 722-2095
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Mr. Samuel C. Burch
Vice Chancellor for Legal Affairs
Board of Regents of

the University System of Georgia
August 29, 2018
Page 3

 

 

5) the school failed to grant Warren Coombs the right to a hearing
before an impartial hearing officer (or panel), to decide his guilt or
innocence.

The school failed to grant Warren Coombs the right to an attorney.

In this case, Warren Coombs obtained legal counsel, and his legal counsel
communicated with the school. The school ignored the demands, and concerns of the
legal counsel. The school failed and refused to communicate with Coombs' legal
counsel,

And, the school never communicated to legal counsel the ruling of the school's
President.

The school failed to grant Warren Coombs the right to challenge the investigator’s
findings.

The failure and refusal to allow the data collected to be challenged makes the
school's action to appear to be no more than an attempt to justify a conclusion it reached
without deciding what is the truth. The school before gathering any data and before
speaking with Warren Coombs, using only the bare allegations of the complaining
witness decided to suspend Warren Coombs. The school gathered its data to justify the
suspension and subsequent expulsion of Warren Coombs, not to determine the truth of
the complaining witness' complaint.

Not only did the school refuse to allow Warren Coombs to challenge the data
gathered, it did not make the findings of the investigator available for review by him for
comment.

The school failed to grant Warren Coombs the right to question his accuser.

In this case, the credibility of the complaining witness is key to deciding whether
Warren Coombs violated any school policy. The truth of the accuser’s statement of
wrongdoing can only be determined if she is “questioned” (tested by rigorous
questioning and evaluation for discovery of the truth). The right to question the
accuser was not made available to Warren Coombs.

1127 LANEY-WALKER BLVD., AUGUSTA, GEORGIA 30901
(Mailing Address: P. O, Box 156, Augusta, GA 30903)

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Mr. Samuel C. Burch
Vice Chancellor for Legal Affairs
Board of Regents of

the University System of Georgia
August 29, 2018

Page 4

 

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The school failed to grant Warren Coombs the right to a hearing before an
independent body.

In this case the fact-gathering body, and the body tasked with deciding the
outcome of the case are one and the same; it is the school. At a minimum to provide an
opportunity for fairness, the school should have accorded Warren Coombs a hearing
before an independent decision-making body, to present his defense and to question the
accuser’s accusation; and to challenge the findings of the investigator; and to argue his
case before any conclusion was reached to take away his property right (educational
opportunity at Georgia's flagship institution of higher learning).

The Board of Regents for the University System of Georgia recognizes the need for
fundamental fairness.

Recognizing the need for fundamental fairness, the Board of Regents for the
University System of Georgia established a policy in 2017 (see Exhibit D attached
hereto) to address what it says is required to meet minimum standards in sexual
misconduct cases like Warren Coombs. The Board's policy now requires that a school
shall do what is being asked for in Warren Coombs' appeal. To insure the discovery of
the truth protecting a student’s property right (right to an education), the Board changed
the burden of proof (standard of review) for cases involving suspension and expulsions
to the higher standard of review of "substantial evidence."

Recognizing the need for a student charged with violating a school policy to have
fundamental rights of fairness (due process), the Board of Regents for the University
Systems of Georgia in 2017 adopted a policy that completely changed the way schools
are to handle complaints of sexual misconduct. The "new" Board's policy allows for the
accused to be provided with copies of the accuser's statements, reports of the investigator
and other information that is to be used to establish guilt. Further, the "new" Board's
policy allows for an accused to be heard on the question of whether his or her presence
on campus poses a danger, before he or she is suspended. And, the "new" Board's
policy gives the accused the right to a hearing to challenge the investigator's report, and
to question his accuser in a hearing in search for the truth.

And, the "new" Board's policy says the investigator and the person deciding the
outcome of the case, cannot be the same person. And, most importantly, the Board
changed the standard of review to be followed when determining guilt or innocence of
the accused in cases when a decision may result in the suspension or expulsion of the
accused. The standard of review was changed from "preponderance of evidence", to
"substantial evidence."

1127 LANEY-WALKER BLVD., AUGUSTA, GEORGIA 30901
(Mailing Address: P. O. Box 156, Augusta, GA 30903)

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Mr. Samuel C. Burch
Vice Chancellor for Legal Affairs
Board of Regents of

the University System of Georgia
August 29, 2018
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None of the procedural rights required by the "new" Board's policy were given
to Warren Coombs by the school. By adopting the "new" policy, the Board is saying
the procedural requirements set out are the minimum needed to provide an accused with
due process (rights of fundamental fairness). Arguably, because Warren Coombs was
NOT given these rights; he was not given his due process rights; and his case should be
reconsidered in light of the "new" Board's policy.

The accuser’s criminal case against Warren Coombs has been dismissed.

The Clarke County District Attorney’s Office presented the accuser’s case to
the Grand Jury. And the Grand Jury refused to indict, find that Warren Coombs is
guilty of any wrongdoing. Arguably the Grand Jury did not find the accuser’s
statements to be credible. (See copy of no-bill attached hereto, marked as Exhibit E.)

Conclusion

For the above stated reasons, it is demanded that Warren Coombs be allowed to
proceed with his Out-of-Time Appeal of the school's decision of September 8, 2016.

Sincerely,

BENJAMIN ALLEN
BA/me

Enclosures
Attachments

cc Warren Coombs

1127 LANEY-WALKER BLVD., AUGUSTA, GEORGIA 30901
(Mailing Address: P. O, Box 156, Augusta, GA 30903)

TELEPHONE (706) 724-7023 FAX (706) 722-2095
The University of Georgia

Office uf the Dresidane

 

SENT Via ELECTRONIC MAIL,

Soptember & 2016

Me, Warren Coombs
Waren £OOmbs2 5 Pues ody
Dear Mr, Coombs:

This levter Is in response to your Juae 19, 2016 appeals of the recent decisions rendered by the A j |
Equal Opportunity Office (EOO). ie

I have carefully considered your appeals und the record in both wf tvese cases. Because | do not
find a sufficient basis on which 1 concfude that ay of the factors set forth in the Non-
Discmination and Anti-Haraesment Policy for overturning or medifying an EOO decision have
been met, | must uphold the FOO's tinding in these cases, This is the final decision of the
Universily of Georgia in these matters.

if you wish 1 appeal this decision, you may submit ax spplication for discretionary review to Mr,
Samuel C. Burch, Vice Chancellor for Legal Affairs, Beard of Regents of the University System
of Georgia, 270 Washington Street, Atlanta. Georgia 36344, within twenty (22) calendar days
from the date of this letter. You should include a copy of this lteter with your application ta Mr.
Burch.

Jud

Jere W. Morehead NY

President

ec: E. Janyce Dawkins, Director, Equal Opportunity Office
Arthur H, Leed, Associate Director for Legal Affairs

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‘Felephone 706-542-1214 © Fax 706-542-0098
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The University of Georgia

 

 

Office of the President

April 19, 2016

Mr, Warren-Gombs—-- times? ge saeco
1371 Waterston Drive 8
Evans, Georgia 30809

Dear Mr, Combs:

On behalf of the Office of the President, I write to acknowledge receipt of your letter appealing
the recent decision of the Equal Opportunity Office. The Office of the President will review
: your appeal and notify you once a decision is made.
| Rs
Sincerely, ‘

(bZ, 22

Arthur L. Tripp
Assistant to the President

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220 South Jackson Street ° The Administration Building * Athens, Georgia 30602-1661
: “Telephone 706-542-1214 © Fax 706-542-0995

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Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 36 of 83

From: Warren Coombs warrens55@comeast.nat G
Subject:
Date: August 19, 2018 at 3:42 PM
Yo: Warren Coombs warrsnS55@corncast nat

es Verizon LTE

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| haven't heard from UGA or
police. I'm a little surprised
UGA hasn't made a decision.
Don't think it means anything
though.

2 pe she ecco im for]
Ecce lel) to move forward with my

ae in a aL BY and this re

 
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not wait en ae ont Over, and
| highly apreciate your hard

work, Thanks

 

No word yet.

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Nov 21, 2076, 10°56 AM

Nothing

 

Dec 19, 2016, 1:73 PM

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_ uga about the appeal? n Has
_ the police said anything?

 

Dec 19, 2016, 715 PM

Sent email today

to the school or the police
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My Lawyer

 

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Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 40 of 83

STATE OF GEORGIA

COUNTY OF RICHMOND

AFFIDAVIT

Before the undersigned officer who is authorized to administer oaths comes

WARREN COOMBS, and being duly swom states the following statements are true,

and correct:

1.

That he is a party to a 2016 case resulting in him being expelled from the
University of Georgia and he was permanently ruled to be ineligible for
future admission or enrollment at the school for an alleged violation of the
school's NDAH Policy.

He, through his attorney appealed the findings and conclusions of the

school's Equal Opportunity Office.

. The appeal was reviewed by the Office of the President, and a decision

dated September 8, 2016 was rendered by the President of the
University of Georgia.
The President's decision was sent to my school's e-mail address,

Warren.coombs245@uga.edu,

 

I did not have access to my school's e-mail address. I was blocked by the
school from accessing the e-mail address.
I received the President's decision in January, 2017 after calling the

President's Office and asking when would a decision be made in my case.
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7. A copy of the decision was sent at my request, to my personal e-mail

 

 

address, warrensjo@comicase 22h.
The statements herein are true and correct.
ITISSO STATED, this, 25 day ot i [ay , 2018.
A avert pen — (Seal)
WARREN COOMBS

Sworn to and subscribed before me.

 
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BOARD OF REGENTS POLICY MANUAL

Official Policies of the University System of Georgia

6.7 Sexual Misconduct
Policy

In accordance with Title IX of the Education Amendments of 1972 (“Title 1X”),
the University System of Georgia (USG) does not discriminate on the basis of
sex in any of its education programs or activities or in employment. The USG
is committed to ensuring a safe learning and working environment for all
members of the USG community. To that end, this Policy prohibits sexual
misconduct, as defined herein.

In order to reduce incidents of sexual misconduct, USG institutions are
required to provide prevention tools and to conduct ongoing awareness and
prevention programming and training for the campus community. Such
programs will promote positive and healthy behaviors and educate the
campus Community on consent, sexual assault, alcohol use, dating violence,
domestic violence, stalking, bystander intervention, and reporting.

When sexual misconduct does occur, all members of the USG community are
strongly encouraged to report it promptly through the procedures outlined in
this Policy. The purpose of this Policy is to ensure uniformity throughout the
USG in reporting and addressing sexual misconduct.

Reporting Structure

All Equal Opportunity directors and others having responsibility for
coordination of Title Ix (“Coordinators”) at USG institutions shall have a direct tT Top

reporting relationship to both the institution’s President or the President's
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Director”). The President of each institution shall determine the organizational
and operating reporting relationships for the Coordinators at the institution
and exercise oversight of institutional issues relating to sexual misconduct.
However, the System Director shall have authority to direct the Coordinators’
work at each institution as needed to address system-wide issues or
directives. The President of each institution shall consult with the System
Director on significant personnel actions involving Coordinators, to include but
not be limited to, appointment, evaluation, discipline, change in reporting
structure, and termination.

6.7.1 Definitions and
Prohibited Conduct

Community: Students, faculty, and staff, as well as contractors, vendors,
visitors and guests.

Complainant: An individual lodging a complaint. The complainant may not
always be the alleged victim.

Consent: Words or actions that show a knowing and voluntary willingness to
engage in mutually agreed-upon sexual activity. Consent cannot be gained by
force, intimidation or coercion; by ignoring or acting in spite of objections of
another; or by taking advantage of the incapacitation of another where the
respondent knows or reasonably should have known of such incapacitation.
Minors under the age of 16 cannot legally consent under Georgia law.

Consent is also absent when the activity in question exceeds the scope of
consent previously given. Past consent does not imply present or future
consent. Silence or an absence of resistance does not imply consent.

Consent can be withdrawn at any time by either party by using clear words or
actions.

Dating Violence: Violence committed by a person who is or has been ina
social relationship of a romantic or intimate nature with the alleged victim.
Dating violence includes, but is not limited to, sexual or physical abuse or the
threat of such abuse. Dating violence does not include acts covered under the
definition of domestic violence.

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intimate partner of the alleged victim; by a person with whom the alleged
victim shares a child in common; by a person who is cohabitating with, or has
cohabitated with, the victim as a spouse or intimate partner, or by a person
similarly situated to a spouse of the alleged victim.

Incapacitation: The physical and/or mental inability to make informed, rational
judgments. It can result from mental disability, sleep, involuntary physical
restraint, status as a minor under the age of 16, or from intentional or
unintentional taking of alcohol and/or other drugs. Whether someone is
incapacitated is to be judged from the perspective of an objectively
reasonable person.

Nonconsensual Sexual Contact: Any physical contact with another person of a
sexual nature without the person's consent. It includes but is not limited to
touching (or penetrating) of a person’s intimate parts (such as genitalia, groin,
breasts, or buttocks); touching (or penetrating) a person with one’s own
intimate parts; or forcing a person to touch his or her own or another person's
intimate parts.

Confidential Employees: Institution employees who have been designated by
the Institution's Coordinator to talk with an alleged victim in confidence.
Confidential Employees must only report that the incident occurred and
provide date, time, location, and name of alleged respondent (if known)
without revealing any information that would personally identify the alleged
victim. This minimal reporting must be submitted in compliance with Title Ix
and the Jeanne Clery Disclosure of Campus Security Policy and Campus
Crime Statistics Act (“Clery Act”). Confidential Employees may be required to
fully disclose details of an incident in order to ensure campus safety.

Privileged Employees: Individuals employed by the institution to whom a
complainant or alleged victim may talk in confidence, as provided by law.
Disclosure to these employees will not automatically trigger an investigation
against the complainant's or alleged victim's wishes. Privileged Employees
include those providing counseling, advocacy, health, mental health, or sexual-
assault related services (e.g., sexual assault resource centers, campus health
centers, pastoral counselors, and campus mental health centers) or as
otherwise provided by applicable law. Exceptions to confidentiality exist where
the conduct involves suspected abuse of a minor (in Georgia, under the age of
18) or otherwise provided by law, such as imminent threat of serious harm.

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Ré¥pidhdent: Individual who is alleged FOPHAVEPeRIG AGEN A Ua Lettie of Georgia

violates this Policy.

Responsible Employees: Those employees who must promptly and fully report
complaints of or information regarding sexual misconduct to the Coordinator.
Responsible Employees include any administrator, supervisor, faculty member,
or other person in a position of authority who is not a Confidential Employee
or Privileged Employee. Student employees who serve in a supervisory,
advisory, or managerial role are in a position of authority for purposes of this
Policy (e.g., teaching assistants, residential assistants, student managers,
orientation leaders).

Sexual Exploitation: Taking non-consensual or abusive sexual advantage of
another for one’s own advantage or benefit, or for the benefit or advantage of
anyone other than the one being exploited.

Examples of sexual exploitation may include, but are not limited to, the
following:

. Invasion of sexual privacy;

. Prostituting another individual;

. Non-consensual photos, video, or audio of sexual activity;

. Non-consensual distribution of photo, video, or audio of sexual activity,

even if the sexual activity was consensual:

9. Intentional observation of nonconsenting individuals who are partially
undressed, naked, or engaged in sexual acts;

6. Knowingly transmitting an STD or HIV to another individual through sexual
activity;

7. Intentionally and inappropriately exposing one’s breasts, buttocks, groin, or
genitals in non-consensual circumstances; and/or

8. Sexually-based bullying.

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Sexual Harassment: Unwelcome verbal, nonverbal, or physical conduct, based
on sex or on gender stereotypes, that is implicitly or explicitly a term or
condition of employment or status in a course, program, or activity; is a basis
for employment or educational decisions; or is sufficiently severe, persistent,
or pervasive to interfere with one’s work or educational performance creating
an intimidating, hostile, or offensive work or learning environment, or
interfering with or limiting one’s ability to participate in or to benefit from an
institutional program or activity.

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dating violence, domestic violence, nonconsensual sexual contact, sexual
exploitation, sexual harassment and stalking.

Stalking: Engaging in a course of conduct directed at a specific person that
would cause a reasonable person to fear for his or her safety or the safety of
others or suffer substantial emotional distress. Course of conduct means two
or more acts, including, but not limited to, acts in which the stalker directly,
indirectly, or through third parties, by any action, method, device, or means,
follows, monitors, observes, surveils, threatens, or communicates to or about
a person, or interferes with person’s property. Reasonable person means a
reasonable person under similar circumstances and with similar identities to
the victim. Substantial emotional distress means significant mental suffering
or anguish that may but does not necessarily, require medical or other
professional treatment or counseling.

6.7.2 Reporting Sexual
Misconduct

A complainant of sexual misconduct may, but need not, file a criminal
complaint with law enforcement officials; file a misconduct report with a
Responsible Employee or Coordinator: or file both. A report may be filed
anonymously, although anonymous reports may make it difficult for the
institution to address the complaint. Any individual who believes that he or
she has been a victim of sexual misconduct is encouraged to report
allegations of sexual misconduct promptly.

All reports of sexual misconduct alleged to have been committed by a student

must be handled consistently with requirements set forth in Section 4.6.5,

Standards for Institutional Student Conduct Investigation and Disciplinary

Proceedings

(<policymanual/section4/C332/#p4.6.5_standards_ for institutional student_conduct_investigation).

 

All reports of sexual misconduct alleged to have been committed by a non-
student member of the institution community will be addressed and/or
resolved through the institution's and the Board of Regents’ applicable policies
for discipline of non-students.

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6.72 (A) Institutional Reporte nn

Complainants of sexual misconduct who wish to file a report with the
institution should notify a Responsible Employee or the Coordinator.
Responsible Employees informed about sexual misconduct allegations
involving any student should not attempt to resolve the situation, but must
notify and report all relevant information to the Coordinator as soon as
practicable. Confidential Employees are not bound by this requirement but
may be required to report limited information about incidents without
revealing the identities of the individuals involved to the Title IX Coordinator,
consistent with their ethical and legal obligations. All members of the
University System of Georgia institutions’ communities are encouraged to
report incidents of sexual misconduct promptly.

The Coordinator's identity and contact information shall be published by each
institution prominently on the institution's website, as well as in any relevant
publication. Each institution may choose to have Deputy Title IX Coordinators
to whom reports may be made, as well. Institutions should encourage
complainants to report their complaints in writing, though oral complaints
should also be accepted, taken seriously, and investigated, to the extent
possible. While complaints should be made as quickly as possible following
an alleged incident of sexual misconduct, all reports should be accepted
regardless of when reported.

The Coordinator shall refer to the System Director any allegation(s) of sexual
misconduct that could, standing alone as reported, lead to the suspension or
expulsion of the respondent(s). The System Director will work with the
institution to determine whether any interim measure(s) are necessary and to
assign an investigator who will work under the direction of the System
Director or designee, if directed by System Director. If an allegation is not
initially identified as one that would lead to the suspension or expulsion of the
respondent(s), but facts arise during the course of the investigation that
would require transfer to the System Director, the Title IX Coordinator shall
transfer oversight to the System Director or designee. The System Director
shall have the discretion to retain oversight or transfer oversight to the
institution.

6.7.2 (B) Law Enforcement Reports

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also has the option, should he or she so choose, of filing a report with campus
or local police, for his or her own protection and that of the surrounding
community. The institution may assist the complainant in reporting the
situation to law enforcement officials.

Complainants considering filing a report of sexual misconduct with law
enforcement should preserve any evidence of sexual misconduct, including,
but not limited to, the following:

1. Clothing worn during the incident including undergarments;
2. Sheets, bedding, and condoms, if used;

3. Lists of witnesses with contact information:

4. Text messages, call history, social media posts;

9. Pictures of injuries; and/or

6. Videos.

6.7.2 (C) Anonymous Reports

Each institution shall provide a mechanism by which individuals can report
incidents of alleged sexual misconduct anonymously. Complainants should
understand, however, that it will be more difficult for the institution to
investigate and to take action upon anonymous reports.

6.7.2 (D) Retaliation

Anyone who, in good faith, reports what he or she believes to be misconduct
under this Policy, or who participates or cooperates in, or is otherwise
associated with any investigation, shall not be subjected to retaliation. Anyone
who believes that he or she has been the target of retaliation for reporting,
participating, cooperating in, or otherwise being associated with an
investigation should immediately contact the Coordinator for the institution.
Any person found to have engaged in retaliation in violation of this Policy shall
be subject to disciplinary action.

6.7.2 (E) False Complaints

Individuals are prohibited from intentionally giving false statements to a
system or institution official. Any person found to have intentionally submitted
false complaints, accusations, or statements, including during a hearing, in
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violation of this Policy shall be subject to appropriate disciplinary action (up to

and including suspension or expulsion) and adjudicated under the student
conduct policy.

6.7.2 (F) Amnesty

Individuals should be encouraged to come forward and to report sexual
misconduct notwithstanding their choice to consume alcohol or to use drugs.
Information reported by an individual during an investigation concerning use
of drugs or alcohol will not be used against the particular individual in a
disciplinary proceeding or voluntarily reported to law enforcement: however,
individuals may be provided with resources on drug and alcohol counseling
and/or education, as appropriate.

6.7.5 Handling Reports of
Sexual Misconduct

6.7.3 (A) Support Services

Once a student or employee makes a complaint or receives notice that a
complaint has been made against him or her, or the coordinator otherwise
learns of a complaint of sexual misconduct. The complainant, respondent and
alleged victim (where applicable) should receive written information about
support services, such as counseling, advocacy, housing assistance,
academic support, disability services, health and mental services, and legal
assistance, available at the student's institution.

Information on support services will be provided regardless as to whether an
individual elects to go forward with filing a formal complaint of sexual
misconduct or with notifying law enforcement. Information on support
services will also be provided to students and employees, regardless of where
the alleged misconduct occurs.

Available support services should also be listed on the institution's Title IX
website.

6.7.3 (B) Interim Measures
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Interim measures may be undertaken at any point after the institution

becomes aware of an allegation of sexual misconduct and should be
designed to protect the alleged victim and the community.

Before an interim suspension is issued, the institution must make all

reasonable efforts to give the respondent the Opportunity to be heard,
consistent with the provisions in Policy 4.6.5.

6.7.5 (C) Jurisdiction

Each USG institution shall take necessary and appropriate action to protect
the safety and well-being of its community. Sexual misconduct allegedly
committed by a student are addressed by this Policy when the misconduct
occurs on institution property, or at institution-sponsored or affiliated events,
or off-campus, as defined by the institution’s student conduct policies.

6.7.3 (D) Advisors

Both the alleged victim and respondent, as parties to the matter, shall have the
opportunity to use an advisor (who may or may not be an attorney) of the
party’s choosing at the party's own expense for the express purpose of
providing advice and counsel, pursuant to the provisions of Policy 4.6.5.

6.7.3 (E) Informal Resolutions

Allegations of sexual misconduct may be resolved informally, without a
determination of misconduct, if all of the following are met:

1. When complainant(s) and respondent agree to an informal resolution;

2. When the initial allegation could not result in expulsion;

3. When the complainant(s) and respondent(s) agree to the terms of the
informal resolution; and

4. When the investigator concludes that informal resolution is in the best
interest of the parties and the institution's community.

The alleged victim(s) and respondent(s) have the option to end informal
resolution discussions and request a formal process at any time before the
terms of an informal resolution are reached. However, matters resolved
informally shall not be appealable.

6.7.3 (F) Timeframe
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Efforts will be made to complete the investigation within a reasonable

timeframe, which will be determined based upon the allegations, availability of
witnesses and/or evidence, etc. in a particular case. When the timeframe will
extend past the reasonable timeframe, the parties will be informed of the
delay and the reason for the delay. The investigator shall keep the parties
informed of the status of the investigation.

6.7.4 Investigations

All sexual misconduct investigations involving a student respondent, whether

overseen by the institution's Coordinator or the System Director, shall follow

the investigation process set forth in Section 4.6.5, Standards for Institutional

Student Conduct Investigation and Disciplinary Proceedings
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6.7.5 Hearings, Possible
Sanctions and Appeals

All sexual misconduct hearings, sanctions, and appeals involving a student
respondent, whether overseen by the institution’s Coordinator or the System
Director, shall follow the investigation process set forth in Section 4.6.5,

Standards for Institutional Student Conduct Investigation and Disciplinary

Proceedings
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All sexual misconduct adjudication involving an employee respondent, shall be
addressed utilizing the institution’s employment policies and procedures.
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BOARD OF REGENTS POLICY MANUAL

Official Policies of the University System of Georgia

 

4.6 Discipline of
Students

4.6.1 [Reserved]

[Reserved]

4.6.2 Violations of State or
Federal Law

A student in any University System of Georgia (USG) institution who is charged
with, or indicted for, a felony or crime involving moral turpitude may be
suspended pending the disposition of the criminal charges against him or her.
Upon request, the student shall be accorded a hearing, as provided in this
Policy Manual and any related institution policy, where he or she shall have the
burden of establishing that his or her continued presence as a member of the
student body will not be detrimental to the health, safety, welfare, or property
of other students or members of the campus community or to the orderly
operation of the institution. Upon final conviction, the student shall be subject
to appropriate disciplinary action.

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4.6.3 Student Organization

Responsibility for Drug
Abuse

The use of marijuana, controlled substances, or other illegal or dangerous
drugs constitutes a serious threat to the public health, welfare, and academic
achievement of students enrolled in the University System of Georgia (USG).
Therefore, all student organizations, including but not limited to societies,
fraternities, sororities, clubs, and similar groups of students which are
affiliated with, recognized by, or which use the facilities under the jurisdiction
of USG institutions, are responsible for enforcing compliance with local, state,
and federal laws by all persons attending or participating in their respective
functions and affairs, social or otherwise.

As provided by the Student Organization Responsibility for Drug Abuse Act,
any such student organization which, through its officers, agents, or
responsible members, knowingly permits, authorizes, or condones the
manufacture, sale, distribution, possession, serving, consumption or use of
marijuana, controlled substances, or other illegal or dangerous drugs at any
affair, function, or activity of such student organization, social or otherwise,
violates the laws of this State and, after being afforded the constitutional
requirements of due process, shall have its recognition as a student
organization withdrawn and shall be expelled from the campus for a minimum
of one calendar year from the date of determination of guilt.

Such organization shall also be prohibited from using any property or facilities
of the institution for a period of at least one year. Any lease, rental agreement,
or other document between the Board of Regents or the institution and the
student organization that relates to the use of the property leased, rented, or
occupied shall be terminated for the student organization knowingly having
permitted or authorized the unlawful actions described above.

All sanctions imposed by this policy shall be subject to review procedures
authorized by the Board of Regents’ Policy on Application for Discretionary
Review.

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adverse action against the student organization pending the Board's review
unless the Board so directs. Any such stay or suspension by the Board shall
expire as of the date of the Board’s final decision on the matter.

4.6.4 Alcohol and Drugs on
Campus

In accordance with Georgia laws governing the manufacture, sale, use,
distribution, and possession of alcoholic beverages, illegal drugs, marijuana,
controlled substances, or dangerous drugs on college campuses and
elsewhere, including the Drug-Free Postsecondary Education Act of 1990, the
Board of Regents encourages its institutions to adopt programs designed to
increase awareness of the dangers involved in the use of alcoholic beverages,
marijuana, or other illegal or dangerous drugs by University System of Georgia
(USG) students and employees. Such programs shall stress individual
responsibility related to the use of alcohol and drugs on and off the campus,

To assist in the implementation of such awareness programs and to enhance
the enforcement of state laws at USG institutions, each institution shall adopt
and disseminate comprehensive rules and regulations consistent with local,
state, and federal laws concerning the manufacture, distribution, sale,
possession, or use of alcoholic beverages, marijuana, controlled substances,
or dangerous drugs on campus and at institutionally-approved events off
campus.

Disciplinary sanctions for the violation of such rules and regulations shall be
included as a part of each institution's disciplinary code of student conduct.
Disciplinary sanctions for students convicted of a felony offense involving the
manufacture, distribution, sale, possession, or use of marijuana, controlled
substances, or other illegal or dangerous drugs shall include the forfeiture of
academic credit and the temporary or permanent suspension or expulsion
from the institution. All sanctions imposed by the institution shall be subject
to review procedures authorized by Board of Regents’ Policy on Application for
Discretionary Review.

The rules and regulations adopted by each institution shall also provide for
relief from disciplinary sanctions previously imposed against one whose

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4.6.5 Standards for
Institutional Student
Conduct Investigation and
Disciplinary Proceedings

(This policy will take effect Fall Semester, 201 7)

This Policy establishes minimum procedural standards for investigations and
resolutions of alleged student conduct violations, which each institution must
incorporate into its respective student conduct policies. The purpose of this
Policy is to ensure uniformity in the quality of investigations while providing
for due process that affords fairness and equity in all student conduct
investigations.

These procedures apply to matters relating to student misconduct, except
matters relating to academic dishonesty, which may be covered under
separate institutional policies. Institutions shall inform students of their
procedures governing student misconduct complaints and investigations.

4.6.5.1 Reports of Student Misconduct

Institutions must provide clear notice to students and other campus
community members as to how to file complaints of misconduct.

Complaints to the appropriate department and/or person(s) should include as
much information as possible — such as: (1) the type of misconduct alleged:
(2) the name and contact information of the individual(s) accused of
misconduct; (3) the date(s), time(s), and place(s) of the misconduct: (4) the
name(s) and contact information of any individual(s) with knowledge of the
incident; (5) whether any tangible evidence has been preserved; and (6)
whether a criminal complaint has been made.

Information from complaints may be shared as necessary to investigate and
to resolve the alleged misconduct. Complaints shall be investigated and
resolved as outlined below. The need to issue a broader warning to the

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Security Policy and Campus Crime Statistics Act (“Clery Act”) shall be
assessed in compliance with federal law.

Where appropriate, complainants may file a law enforcement report as well as
an institutional report, but are not required to file both.

1. Confidentiality: Where a complainant or alleged victim requests that his or
her identity be withheld or the allegation(s) not be investigated, the
institutions should consider whether or not such request(s) can be honored
while still providing a safe and nondiscriminatory environment for the
institution and conducting an effective review of the allegations. The
institution should inform the requesting party that the institution cannot
guarantee confidentiality.

2. Retaliation: Anyone who, in good faith, reports what she or he believes to be
student misconduct participates or cooperates in, or is otherwise
associated with any investigation, shall not be subjected to retaliation.
Anyone who believes he or she has been the target of retaliation for
reporting, participating or cooperating in, or otherwise being associated
with an investigation should immediately contact the appropriate
department or individual(s) for that institution. Any person found to have
engaged in retaliation in violation of the student conduct policy shall be
subject to disciplinary action, pursuant to the institution's policy.

3. False Complaints/Statements: Individuals are prohibited from intentionally
giving false statements to an institution official. Any person found to have
intentionally submitted false complaints, accusations, or statements,
including during a hearing, in violation of this Policy shall be subject to
appropriate disciplinary action (up to and including suspension or
expulsion) and adjudicated under the student conduct policy.

4. Amnesty: Students should be encouraged to come forward and report
violations of the law and/or student code of conduct notwithstanding their
own improper use of alcohol or drugs. Any student(s) who voluntarily and
in good faith reports information to college or university faculty or staff
Prior to any investigation concerning use of drugs or alcohol will not be
voluntarily reported to law enforcement; nor will information that the
individual provides be used against the individual for purposes of conduct
violations. Nevertheless, these students may be required to meet with staff
members in regard to the incident and may be required to participate in
appropriate educational program(s). The required participation in an
educational program under this amnesty procedure will not be considered a

sanction.
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who is otherwise obligated by law (the Clery Act) to report information or
Statistical data as required.

4.6.5.2 Process for Investigating and
Resolving Disputed Reports

Jurisdiction: Each institution shall take necessary and appropriate action to
protect the safety and well-being of its community. Accordingly, student
conduct should be addressed when such acts occur on institution property, at
institution-sponsored or affiliated events, or otherwise violate the institution's
student conduct policies, regardless as to where such conduct occurs. If the
student has admitted responsibility and has voluntarily decided to participate
in the informal process, the procedures outlined in this section will not apply.

Access to Advisors: The respondent and alleged victim (where applicable), as
parties to these proceedings, shall have the right to have an advisor (who may
or may not be an attorney) of his or her choosing, and at his or her own
expense, for the express purpose of providing advice and counsel. The advisor
may be present during meetings and proceedings during the investigatory
and/or resolution process at which his or her advisee is present. The advisor
may advise his or her advisee in any manner, including providing questions,
Suggestions, and guidance on responses to any questions posed to the
advisee, but shall not participate directly during the investigation or hearing
process. The institution shall not prohibit family members of a party from
attending the hearing if the party requests such attendance, but may limit

each participant to having two family members present.

Initial Evaluation of Student Conduct Reports: Regardless of how an institution
becomes aware of misconduct, the institution shall ensure a prompt, fair, and
impartial review and resolution of complaints alleging student misconduct.
Where a report of student misconduct has been made to the appropriate
department and/or person, the institution shall review the complaint to
determine whether the allegation(s) describes conduct in violation of the
institution's policies and/or code of conduct. If the reported conduct would
not be a violation of the institution's policies and/or code of conduct, even if
true, then the report should be dismissed. Otherwise, a prompt, thorough, and
impartial investigation, and review shall be conducted into each complaint
received to determine whether charges against the respondent should be
brought.
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 58 of 83
Where a report of student misconduct alleges sexual misconduct or other

forms of harassment and/or discrimination, the report will be referred to and
the investigation will be conducted through or as directed by the appropriate
office trained and equipped to investigate such matters.

Any report that involves allegation(s) of conduct that could lead to the
Suspension or expulsion of the respondent(s) in an initial violation must be
promptly reported to the System Director by the institution. The System
Director will work with the institution to determine whether any interim
measure(s) are necessary, to assign an investigator and will collaboratively
supervise the investigation with the appropriate institution professional (e.g.,
the Title IX Coordinator, Dean of Students). If an allegation is not initially
identified as one that could lead to suspension or expulsion of the
respondent(s), but facts arise during the course of the investigation that
would require oversight from the System Director, then the institution shall
report that case to the System Director or her designee prior to proceeding.

Interim Measures

Interim measures may be provided by the institution at any point during an
investigation and should be designed to protect the alleged victim and the
community. To the extent interim measures are imposed, they should
minimize the burden on both the alleged victim and the respondent, where
feasible. Interim measures may include, but are not limited to:

1. Change of housing assignment;

2. Issuance of a “no contact” directive;

3. Restrictions or bars to entering certain institution property;

4. Changes to academic or employment arrangements, schedules, or
supervision;

5. Interim suspension; and

6. Other measures designed to promote the safety and well-being of the
parties and the institution’s community.

An interim suspension should only occur where necessary to maintain safety
and should be limited to those situations where the respondent poses a
serious and immediate danger or threat to persons or property. In making
such an assessment, the institution should consider the existence of a
significant risk to the health or safety of the alleged victim or the campus
community; the nature, duration, and severity of the risk; the probability of
potential injury; and whether less restrictive means can be used to
significantly mitigate the risk.
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 59 of 83
Before an interim suspension is issued, the institution must make all

reasonable efforts to give the respondent the opportunity to be heard on
whether his or her presence on campus poses a danger. If an interim
suspension is issued, the terms of the suspension take effect immediately.
Upon request, the respondent will have an opportunity to be heard by the
respective conduct officer, Title IX Coordinator, or System Director, as
appropriate, within three business days in order to determine whether the
interim suspension should continue.

Investigation

Throughout any investigation and resolution proceedings, a party shall receive
written notice of the alleged misconduct, shall be provided an opportunity to
respond, and shall be allowed to remain silent or otherwise not participate in
or during the investigation and resolution process without an adverse
inference resulting. If a party chooses to remain silent or otherwise not
participate in an investigation, the investigation may still proceed and policy
charges may still result and be resolved. Additionally, in any investigation
involving allegations of sexual misconduct, timely notice of meetings shall be
provided to each party of any meeting at which the complainant, respondent
or alleged victim may be present. Timely and equal access to information that
will be used during the investigation will be provided to the complainant,
respondent and alleged victim (where applicable).

Where the potential sanctions for the alleged misconduct may involve a
suspension or expulsion (even if such sanctions were to be held “in abeyance,”
such as probationary suspension or expulsion) the institution's investigation
and resolution procedures must provide the additional minimal safeguards
outlined below.

1. The alleged victim and respondent shall be provided with written notice of
the complaint/allegations, pending investigation, possible charges,
possible sanctions, and available support services. The notice should also
include the identity of any investigator(s) involved. Notice should be
provided via institution email to the address on file.

2. Upon receipt of the written notice, the respondent shall have at least three
business days to respond in writing. In that response, the respondent shall
have the right to admit or to deny the allegations, and to set forth a defense
with facts, witnesses, and supporting materials. A non-response will be
considered a general denial of the alleged misconduct. Any alleged victim
shall also be provided three business days to respond to or to supplement
the notice.
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 60 of 83
3. If the respondent admits responsibility, the process may proceed to the

Sanctioning phase or may be informally resolved, if appropriate.

4. If at any point the investigator determines there is insufficient evidence to
support a charge or to warrant further consideration of discipline, then the
complaint should be dismissed.

5. An investigator shall conduct a thorough investigation and should retain
written notes and/or obtain written or recorded statements from each
interview. The investigator shall also keep a record of any party’s proffered
witnesses not interviewed, along with a brief, written explanation of why the
witnesses were not interviewed.

6. The initial investigation report shall be provided to the respondent and the
alleged victim (where applicable). This report should clearly indicate any
resulting charges (or alternatively, a determination of no charges), as well
as the facts and evidence in support thereof, witness statements, and
possible sanctions. For purposes of this Policy, a charge is not a finding of
responsibility, but indicates that there is sufficient evidence to warrant
further consideration and adjudication.

7. The final investigation report should be provided to the misconduct panel
or hearing officer for consideration in adjudicating the charges brought
against the respondent. A copy shall also be provided to the respondent
and alleged victim (where applicable) before any hearing. The investigator
may testify as a witness regarding the investigation and findings, but shall
otherwise have no part in the hearing process and shall not attempt to
otherwise influence the proceedings outside of providing testimony during
the hearing.

Resolution/Hearing
In no case shall a hearing to resolve charge(s) of student misconduct take
place before the investigative report has been finalized.

~ Where the respondent indicates that he or she contests the charges, the
matter shall be set for a hearing and once the investigative report has been
finalized and copies provided to the respondent and alleged victim (where
applicable); however, the alleged victim (where applicable) and respondent
may have the option of selecting informal resolution as a possible resolution
in certain student misconduct cases where they mutually agree, except where
deemed inappropriate by the Vice President for Student Affairs (or his/her
designee) or the System Director.
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 61 of 83
Where a case is not resolved through informal resolution or informal

resolution is not available due to the nature of the charges, the respondent
shall have the option of having the charges heard either by an administrator
(hearing officer) or a hearing panel. However, all cases involving charges of
sexual misconduct that go to a hearing shall be heard by a panel of staff
and/or faculty. Sexual misconduct panel members shall receive appropriate
annual training as directed by the System Director or Coordinator and required
by the Clery Act. If an administrative hearing is requested, the respondent shall
use his or her discretion to determine whether the case should be heard bya
hearing panel. Notice of the date, time, and location of the hearing shall be
provided to the respondent, complainant, and alleged victim (where
applicable) at least five business days prior to the hearing. Notice shall be
provided via institution email where applicable. Additionally, the following
standards will apply to any such hearing:

The respondent shall have the right to present witnesses and evidence to the
hearing officer or panel. Witness testimony, if provided, shall pertain to
knowledge and facts directly associated with the case being heard. Both
parties shall have the right to confront any witnesses, including the other
party, by submitting written questions to the hearing officer for consideration.
Advisors may actively assist in drafting questions. The Panel shall ask the
questions as written and will limit questions only if they are unrelated to
determining the veracity of the charge leveled against the respondent(s). In
any event, the Panel shall err on the side of asking all submitted questions and
must document the reason for not asking any particular questions.

1. Where the hearing officer or panel determines that a party or witness is
unavailable and unable to be present due to extenuating circumstances, the
hearing officer or panel may establish special procedures for providing
testimony from a separate location. In doing so, the hearing officer or panel
must determine whether there is a valid basis for the unavailability, ensure
Proper sequestration in a manner that ensures testimony has not been
tainted, and make a determination that such an arrangement will not
unfairly disadvantage any party. Should it be reasonably believed that a
party or witness who is not physically present has presented tainted
testimony, the hearing officer or panel will disregard or discount the
testimony.

In sexual misconduct cases, the hearing officer reserves the right to allow a
party to testify in a separate room, so long as no party is unfairly
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 62 of 83
disadvantaged by this procedure. A party must still give testimony in the

presence of the Panel, and the opposing party must have the opportunity to
view the testimony remotely and to submit follow-up questions.

2. Formal civil rules of evidence do not apply to the investigatory or resolution
process.

3. The standard of review shall be a preponderance of the evidence; however,
any decision to suspend or to expel a student must also be supported by
substantial evidence at the hearing.

4. Institutions should maintain documentation of the proceedings, which may
include written findings of fact, transcripts, audio recordings, and/or video
recordings.

5. Following a hearing, both the respondent and alleged victim (where
applicable) shall be simultaneously provided a written decision via
institution email (where applicable) of the outcome and any resulting
sanctions. The decision should include details on how to appeal, as
outlined below. Additionally, the written decision must summarize the
evidence in support of the sanction. The same form will be completed,
regardless of whether the student opts for a hearing panel or an
administrative proceeding.

Possible Sanctions

In determining the severity of sanctions or corrective actions the following
should be considered: the frequency, severity, and/or nature of the offense;
history of past conduct; an offender's willingness to accept responsibility;
previous institutional response to similar conduct: strength of the evidence;
and the wellbeing of the university community. The hearing panel, hearing
officer or administrator that found that a policy violation occurred will
determine sanctions and issue notice of the same, as outlined above.

The broad range of sanctions includes: expulsion; suspension for an identified
time frame or until satisfaction of certain conditions or both; temporary or
permanent separation of the parties (e.g., change in classes, reassignment of
residence, no contact orders, limiting geography of where parties can go on
campus) with additional sanctions for violating no-contact orders; required
participation in sensitivity training/awareness education programs; required
participation in alcohol and other drug awareness and abuse prevention
programs; counseling or mentoring; volunteering/communhity service; loss of
institutional privileges; delays in obtaining administrative services and
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 63 of 83
benefits from the institution (e.g., holding transcripts, delaying registration,

graduation, diplomas); additional academic requirements relating to scholarly
work or research; financial restitution; or any other discretionary sanctions
directly related to the violation or conduct.

4.6.5.3 Appeals

Where the sanction imposed includes a suspension or expulsion (even for one
held in abeyance), the following appellate procedures must be provided. The
alleged offender (and in cases involving sexual misconduct or other forms of
discrimination and/or harassment, the alleged victim) shall have the right to
appeal the outcome on any of the following grounds: (1) to consider new
information, sufficient to alter the decision, or other relevant facts not brought
out in the original hearing, because such information was not known or
knowable to the person appealing during the time of the hearing; (2) to allege
a procedural error within the hearing process that may have substantially
impacted the fairness of the hearing, including but not limited to whether any
hearing questions were improperly excluded or whether the decision was
tainted by bias; or (3) to allege that the finding was inconsistent with the
weight of the information.

Appeals may be made for the above reasons in any case where sanctions are
issued, even when such sanctions are held “in abeyance,” such as
probationary suspension or expulsion. The appeal must be made in writing,
and must set forth one or more of the bases outlined above, and must be
submitted within five business days of the date of the final written decision.
The appeal should be made to the institution’s Vice President for Student
Affairs or his/her designee.

The appeal shall be a review of the record only, and no new meeting with the
respondent or any alleged victim is required. The Vice President, or his or her
designee, may affirm the original finding and sanction, affirm the original
finding but issue a new sanction of lesser severity, remand the case back to
the decision-maker to correct a procedural or factual defect, or reverse or
dismiss the case if there was a procedural or factual defect that cannot be
remedied by remand. The Vice President or his or her designee shall then
issue a decision in writing to the respondent within a reasonable time period.

The decision of the Vice President or his or her designee may be appealed in
writing within five business days (as determined by the date of the decision
letter) to the President of the institution solely on the three grounds set forth
above.
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 64 of 83
The President may affirm the original finding and sanction, affirm the original

finding but issue a new sanction of greater or lesser severity, remand the case
back to the decision maker to correct a procedural or factual defect, or reverse
or dismiss the case if there was a procedural or factual defect that cannot be
remedied by remand. The President's decision shall be simultaneously issued
in writing to the complainant, the respondent and the alleged victim (where
applicable) within a reasonable time period. The President's decision shall be
the final decision of the institution.

Should the respondent or alleged victim (where applicable) wish to appeal the
President's decision, he or she may request review by the Board of Regents in
accordance with the Board of Regents’ Policy on Discretionary Review.

4.6.5.4 Recusal/Challenge for Bias

Any party may challenge the participation of any institution official, employee
or student panel member in the process on the grounds of personal bias by
submitting a written statement to the institution’s designee setting forth the
basis for the challenge. The designee shall not be the same individual
responsible for investigating or adjudicating the conduct allegation. The
written challenge should be submitted within a reasonable time after the
individual knows or reasonably should have known of the existence of the
bias. The institution's designee will determine whether to sustain or deny the
challenge and, if sustained, the replacement to be appointed.
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 65 of 83

IN THE SUPERIOR COURT OF CLARKE COUNTY

 

STATE OF GEORGIA
)
State of Georgia ) Docket CR-CR-17-3885
Vv. CR-CR-17-3886
-)
Warren Gregory Coombs ),.
‘ ) Charges: Rape

Aggravated Sodomy

NOTICE OF DISMISSAL OF WARRANTS

NOTICE IS HEREBY GIVEN of the dismissal of the warrants listed above which had
been sent to the District Attorney's Office for prosecution in this transaction. The matter
was presented to a Clarke County Grand Jury on this date and said Grand Jury
returned a-NO TRUE BILL. on ail charges presented. All bonds and conditions
previously set in this mafter shall be discharged. °

“pated this 5, Tt day of Juné, 2018.

: ~~
Anna Guardino
i : Assistant District Attorney

Received by the Clerk of Court on this day of June, 2018.

af

Glerk/Deputy ClerkofCourt

 
 

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. IN THE MAGISTRATE COURT OF ATHENS-CLARKE COUNTY, GEORGIA

STATE OF GEORGIA Warrant Number: j
7 | MCOWE 02 17- 35E5
Warren Gregory Coombs
Defendant . Charge: Rape
WARRANT
Personally appeared, CHRISTOPHER $ ARMEL who on oath says that, to the best of his/her knowledge and belief, Warren
Gregory Coombs, did between 01/14/201¢ **-00M74 ana 91/15/2016 4:00AM commit the Felony offense of Rape in violation
cf OCR A_Caode Section 16-G-lat 5° . ATHENS, GA, 30601, Athens-Clarke County, Georgia, and against.

ome, vand the laws of the.State ox weorgia, Prosecutor farther states that the accused: did have carnal

knowledge of — a female, fo her will. . Prosecutor makes this affidavit that a warrant may issue

for the accused's arrest.
(? _

Swom to and subscribed before me, This 24 day of July, 2017 at 9:02:44AM

 

 

Judge: Benjamin Makin - 12412017 9:02:32 AM
MAGISTRATE Court of Athens-Clarke County Prosscutor- CHRISTOPHER S ARMEL
IDE Agency:Athens Clarke County PD
3 STATE WARRANT FOR ARREST

To any Sheriff, Deputy Sheriff, Coroner, Constable or Marshal of this State « - Greetings:
For sufficient cause made known to me in the above affidavit, incorporated by reference herein, and other swom testimony, you are

-

hereby commanded to arrest the accused, Warren :Gregory Coombs, charged by the Prosecutor therein with the above offense
against the laws of this State, and bring the accused’ before me or some other judicial officer of this State to be dealt with as the law

directs, Herein fail not. o

This 24 day of July, 2017 at 9:02:444M

 

Judge, Benjamin Makin
MAGISTRATE Court of Athens-Clarke County

INITIJALAPPEARANCE AND BAIL ORDER
[ }] Defendant appeared this day before the undersigned Judge for initial appearance as provided by law. The Defendant was
fully informed of the charges and other matters as required by Uniform Magistrate Court Rule 25.1 and of the right to a
committal hearing, tinless waived. : . mom”
[ ] Defendant shall be granted bail in the amount of $ to secure Defendant's court appearance
on the day of , 20 at in the State/Magistrate Court of Athens-Clarke County,
Georgia and from, day to day thereafter until discharged by law,

 

Judge:

Tracking No: EW-028573
 

Case 3:19-cv-00054-CAR Daeument 1-1 Filed 05/30/19 Page 67 of 83

 

; _ INTHE MAGISTRATE COURT OF ATHENS-CLARKE COUNTY, GEORGIA
STATE OF GEORGIA ; Warrant Number: mco ideag [2 3S5 lp

V8 i

Warren Grepory Coombs i

Defendant ' Charge; Aggravated Sodomy

5 - WARRANT

Personally appeared, CHRISTOPHER S ARIMEL who'on oath says that, to the best of his/her knowledge and belief, Warren
Gregory Coombs, did between 01/14/2016 11:00PM and 07/15/2016 4:00AM commit the Felony offense of Aggravated
Sodomy in violation of 0.C.G.A. Cade: Seation 16-6-2,(3)(2) at j | + aMTETENS, GA, 30601, Athens-Clarke
County, Georgia, and against. ‘nd the laws of the Staté of Georgia. Prosecutor further siates that the

accused: it an act of sodomy with force and ‘against the by forcing her to perform fellatio

upon his penis. Coombs did use hisyhand te push! — head down upon his penis, , Prosecutor makes this affidavit that a

warrant may issue for the accused's arrest. ree
Swom to and subscribed before me, This 24 day of July, 2017 at .9:02:44AM

. . 7/24/2017 9:02:32 AM.

 

 

Judge: Benjamin Makin
MAGISTRATE Court of Athens-Clarke County Prosecutor:;GHRISTOPHER S ARMEL
ID#: Agency:Athens Clarke County PD
STATE WARRANT FOR ARREST

To any Sheriff, Deputy Sheriff, Coroner, Constable or Marshal of this State - - Greetings: .

For sufficient cause made known to me in the aboye affidavit, incorporated by reference herein, and other swom testimony, you are
hereby commanded to arrest the accused, Warren Gregory Coombs, charged by the Prosecutor therein with the above offense
against the laws of this State, and bring the accused before me or some other judicial officer of this State 10 be dealt with as the law
directs. Herein fail not, °

¥
x

This 24 day of July, 2017 at 9:02:44AM

 

Judge, Senjamin Makin
. : MAGISTRATE Court of Athens-Clarke County
INITIALAPPEARANCE AND BAIL ORDER .

{ ] Defendant appeared this day before the undersigned Judge for initial appearance as provided by law. The Defendant was

fully infofmed of the charges and other matters required by Uniform Magistrate Court Rule 25.1 and of the right to a

committal hearing, unless waived
[ ] Defendant shall be granted bail in the amount of $ : to secure Defendant's court appearance

on the day of 5 20 at in the State/Magistrate Court of Athens-Clarke County,

Georgia and from day to day thereafter until discharged by law.

<

 

Judge:

Tracking No: EW-028580
4&5 30/19 Page 68 of 83
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Search

 

Bill of Rights

UGA Equal Opportunity Office

Bill of Rights and Acknowledgments for Complainants and Respondents

Please Initial:

The Equal Opportunity Office (“EOO”) is conducting an administrative, not a criminal or civil law, investigation
into possible harassment, discrimination or sexual misconduct under the University’s Non Discrimination and Anti-
Harassment (“NDAH") Policy or Student Sexual Misconduct Policy (SSMP),

 

The EOO is not advocating for or representing any party in this process. The EOO cannot provide legal advice
to any party in this process.

 

 

The information obtained during the investigative Process will be evaluated using a preponderance of the
evidence standard. This means that in order to find a Respondent in violation either the NDAH or SSMP Policy, more than
50% of the evidence must support that the Respondent engaged in conduct prohibited by the Policy.

 

As a Complainant or Respondent, you have a right to have a support person of your choice present for all
meetings. This person may be an advocate, friend, parent, lawyer or any other person, provided that person is not also a
witness in the investigation. The support person may not actively participate in the process, but may be consulted at any
point in the process.

 

If you are a Respondent, you have the right to know the allegations against you and any information obtained
during an investigation so that you may have an opportunity to respond.

 

As a Respondent, you have the right to decline to make any statements or answer questions regarding or related
to the alleged misconduct and in doing so, no inference to responsibility will be drawn.

 

 

As a Complainant or Respondent, you have the right to identify witnesses, documents, or other materials
believed to be relevant for the EOO to review and consider. You also have the right to review the investigative file at any

 

https://eoo.uga.edu/non-discrimi nation-anti-harassment-policy/bill-rights 41/3
: - - i 05/30/19 Page 69 of 83
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point during or after the investigation. You have the right to pose questions to parties or witnesses through the
investigator.

If a violation is found, the level of discipline and type of sanction(s) will depend on the severity and nature of
the violation, the weight of the evidence and the need to maintain a safe and respectful environment. Examples of
available sanctions are listed in the NDAH Policy and the University Code of Conduct.

 

No person connected to an EOO investigation may be subjected to retaliation. Retaliation is a separate violation
of the NDAH Policy and SSMP and if found by a preponderance of the evidence to have occurred provides an independent
basis for disciplinary action,

 

As a Complainant or Respondent, you have the right to appeal the outcome of an EOO

a

investigation under the criteria listed in the NDAH Policy or the SSMP,

If you are a student Complainant or Respondent, the EOO cannot disclose any information about the EOO
investigation to your family members or other third parties who are not involved in the investigation without a written
release. This is pursuant to the federal Family Educational Rights and Privacy Act (FERPA).

 

If you are a student Complainant or Respondent, information reported by you during an EOO investigation
concerning use of drugs or alcohol will not be used against any student in a University disciplinary proceeding or
voluntarily reported to law enforcement.

I have been provided with a copy of, or an electronic link to, the NDAH Policy and/or SSMP. In instances
involving the SSMP, I was also provided a copy of University System of Georgia Policy 4.6.5, Standards for Institutional
Student Conduct Investigation and Disciplinary Proceedings, and the UGA Code of Conduct. Any questions that I have
about these policies or their interpretation can be asked of the investigator assigned to my case or UGA's Title IX
Coordinator. I have also been notified about Support resources on campus and in the community that are available to
both Complainants and Respondents.

 

By signing I affirm that this Bill of Rights and Acknowledgments has been explained to me and that I have
had the opportunity to discuss each item.

 

 

Signature: Date:

 

Print Name:

 

 

EOO Staff Signature: Date:

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_ -1 Filed 05/30/19 Page 70 of 83
3/28/2019 Case 3:19-cv-00054-CAR D9 ument ‘tga Equal Opportunity Office g
Download file here:

The University of Georgia | Equal Opportunity Office | Privacy | Submit a Student Complaint
119 Holmes-Hunter Academic Building Athens, GA 30602

706.542.7912 | 706.542.2822(Fax) | ugaeoo@uga.edu

 

https://e00.uga.edu/non-discrimination-anti-harassment-policy/bill-rights

bill of rights.pdf (https://eoo.uga.edu/sites/default/files/bill of rights. pdf)

Login

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Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 71 of 83

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CLERK OF SUPERIOR COURT
General Civil and Domestic Relations Case Filing Information Form ee ge Pee

SU19CV0237

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Beverly Logan, Clerk

 

 

 

 

 

 

 

 

 

 

 

No Athens - Clarke County, Geo
Date Filed 04-17-2019 Case Number __su19cv0237
MM-DD-YYYY
Plaintiff(s) Defendant(s)
Coombs, Warren Mr. Moorehead, Jere W. Dr.
Last First Middle I. Suffix Prefix Last First Middle I. Suffix Prefix
Board of Regents of the University System of G
Last First Middle 1. Suffix Prefix Last First Middle I. Suffix Prefix
Last First Middle 1. Suffix Prefix Last First Middle L. Suffix Prefix
Last First Middle I. Suffix Prefix Last First Middle I, Suffix Prefix
Plaintiff's Attorney Allen, Benjamin Bar Number 009836 Self-Represented L)
Check One Case Type in One Box

General Civil Cases Domestic Relations Cases

O Medical Malpractice Tort O Dissolution/Divorce/Separate

O Product Liability Tort Maintenance

O Automobile Tort O Paternity/Legitimation

O General Tort O Support - IV-D

Contract O Support — Private (non-IV-D)

O Real Property O Adoption

O Civil Appeal O Family Violence Petition

Oo Habeas Corpus O Other Domestic Relations

L Restraining Petition

O Injunction/Mandamus/Other Writ Post-Judgement — Check One Case Type

O Garnishment oO Contempt

0 Landlord/Tenant O  Non-payment of child support,

O Other General Civil medical support, or alimony.

O Modification
| Administrative/Other

 

 

 

O Check if the action is related to another action(s) pending or previously pending in this court involving some or all
the same parties, subject matter, or factual issues. If so, provide a case number for each.

 

 

Case Number _ Case Number

I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
redaction of personal or confidential information in O.C.G.A. §9-11-7.1.

O Is interpreter needed in this case? If so, provide the language(s) required.

 

Language(s) Needed

O Do you or your client need any disability accommodations? If so, please describe the accommodation request.
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 72 of 83

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SUPERIOR COURT OF CLARKE COUNTY oe eee coal
pr SOUNTY, GEORGIA
STATE OF GEORGIA SU19CV0237
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__| © Athens - Clarke County, Georgia

CIVIL ACTION NUMBER $U19CV0237
Coombs, Warren Mr.

 

PLAINTIFF

VS.
Moorehead, Jere W. Dr.
Board of Regents of the University System of
GA

 

DEFENDANTS

SUMMONS
TO THE ABOVE NAMED DEFENDANTS:

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attomey, whose name and address is:

Benjamin Allen

Benjamin Allen & Associates, PC

P. O. Box 156

Augusta, Georgia 30903
an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.

This 17th day of April, 2019.
Clerk of Superior Court

  

 

| //Beverly Logan, Clerk
Athens - Clarke County, Georgia
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 73 of 83

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ats Logan, Clerk
Athens - Clarke County, Georgia

CIVIL ACTION NUMBER SU19CV0237
Coombs, Warren Mr.

 

PLAINTIFF

VS.
Moorehead, Jere W. Dr.
Board of Regents of the University System of
GA

 

DEFENDANTS

SUMMONS
TO THE ABOVE NAMED DEFENDANTS:

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attomey, whose name and address is:

Benjamin Allen

Benjamin Allen & Associates, PC

P. O. Box 156

Augusta, Georgia 30903
an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.

This 17th day of April, 2019.
Clerk of Superior Court

Oop Hh
oe Clerk

Athens - Clarke County, Georgia
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 74 of 83
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SHERIFF'S ENTRY OF SERVICE SECON DD ORIGINAL CLERKOF SUPERIGR'SOURT

mF Superior Court Magistrate en UN GEORGIA
Civil Action No. SU19CV0237 | 4 iM KR 00 Af q b State Court Oo Probate Cou 19C 0237

 

 

 

 

Juvenile Court oO H. PATRICK HAGGARD
Date Filed 04/17/19 02:29 PM TS, Zeiten
Georgia, CLARKE ZOUNT HX
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Attorney’s Address Allen, Benjamin COOMBS, WARREN C\ Ainen’ Piitke County, Geo
Benjamin Allen & Associates, PC ”
P. O. Dox 156
Augusta, Georgia 30903 Plaintiff

VS.
MOOREHEAD, JERE W.; BOARD OF REGENTS OF

 

Name and Address of Party to be Served.

BOARD OF REGENTS OF THE UNIVERSITY SYSTEM OF GA, THE UNIVERSITY SYSTEM OF GA
( i iS I Pp A i [ Defendant
270 WASHINGTON STREET, S. W.

 

 

 

 

 

   
   

 

 

 

 

 

 

   

 

  

 

 

 

 

 

 

 

 

ATLANTA, Georgia 30334 APR 23 7616
Fulton County Marshel's Dept, et.
SHERIFF'S ENTRY OF SERVICE S22 eee 89 F

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B OL have this day served the defendant personally with a copy
w of the within action and summons.
3 Thave this day served the defendant by leaving’a
2 copy of the action and summons at his most notorious place of abode in this County. 3
oO J 4
5 Delivered same into hands of described as follows:

age, about years; weight pounds; height, about feet and inches, domiciled at the residence-of

defendant. Mr
z ry
ped of Aidents ol ht Uhewrsfy Suen a GY a
= served the defendant Pt off a a wie Lt 8 tf eee ed OO 4 corporation:
Nlby leaving a copy of the within action and summons with {iV \3 WE GHeSY Cage ES
8 Cieeharge of the office and place of doing business of said Corporation in the County.
= Thave this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the
= _ door of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of the
S ) 0 , 1 y Pp p 2 py or the
« — Same in the United States Mail, first class in an envelope property address to the defendant(s) at the address shown in said
2 summons, with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the
r place stated in the summons.
%
wi ~ Diligent search made and defendant
8 not to be found in the jurisdiction of this court.

a yal : Mic | foe
This\-_day of vl al 20\4 if of (d: {| fi 4
ATI
Case 3:19-cv-00054-CAR Document 1-1 Filed 05/30/19 Page 75 of 83

= EFILED IN OFFICE
CLERK OF SUPERIOR COURT
CLARKE COUNTY, GEORGIA

$U19CV0237
IN THE SUPERIOR COURT OF CLARKE COUNTY __H. PATRICK HAGGARD
STATE OF GEORGIA MAY 21, 2019 02:36 PM

Beverly Logan, Clerk
Athens - Clarke County, Geo

(hash die

WARREN COOMBS,
Plaintiff,

SU19CV0237-H
JERE MOOREHEAD, et al,

|
|
|
V. | CIVIL ACTION NO.
|
|
|
Defendants. |
ANSWER AND DEFENSES OF DEFENDANTS
Defendants Jere Morehead and the Board of Regents answer and
respond to Plaintiffs complaint as follows:
First Defense
Plaintiff fails to state a claim upon which relief may be granted.
Second Defense
Plaintiffs claims against the Board of Regents and against Defendant
Morehead in his official capacity are barred, in whole or in part, by sovereign
immunity and the Eleventh Amendment.
Third Defense
Plaintiffs federal claims against Defendant Morchead in his individual
capacity are barred by the doctrine of qualified immunity.
Fourth Defense

Plaintiffs claims are barred, in whole or in part, by the applicable

statutes of limitations.
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Fifth Defense
Defendants deny that Plaintiff has been subjected to the deprivation of
any right, privilege, or immunities under the Constitution or laws of the
United States or the State of Georgia.
Sixth Defense
Defendant Morehead cannot be held liable for any actions involving
Plaintiff in which he did not directly participate or of which he had no
knowledge.
Seventh Defense
The Board of Regents is not a person within the meaning of 42 U.S.C. §
1983.
Eighth Defense
Defendants have not caused Plaintiff any cognizable injury.
Ninth Defense
Plaintiffs alleged injuries and damages were not proximately caused
by any act or omission on the part of Defendants, with the result that the
Plaintiff is not entitled to recover in this case.
Tenth Defense
Subject matter jurisdiction is lacking to the extent that this action is

barred by sovereign immunity.
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Eleventh Defense

Plaintiffs’ alleged injuries and damages were not proximately caused
by any act or omission on the part of Defendants, with the result that
Plaintiffs are not entitled to recover against Defendants in this case.

Twelfth Defense

Defendants respond to the specifically numbered Paragraphs of
Plaintiffs’ Complaint as follows:

I(a).

Defendants admit that (1) Plaintiff brings this action; (2) Plaintiff
formerly was a student at the University of Georgia; and (3) Plaintiff
accurately, though only partially and with a typographical error, quotes from
portions of the United States and Georgia Constitutions. Defendants deny
any other allegations in Paragraph 1(a).

1(b).

Defendants admit that Plaintiff is a former student at the University
of Georgia, a state university, and, upon information and belief, that Plaintiff
is a citizen of Georgia. Defendants admit that students generally are entitled
to some measure of notice and some opportunity to be heard concerning many
serious allegations of misconduct. Defendants deny any other allegations in
Paragraph 1(b).

2.

Defendants deny the allegations in Paragraph 2.
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3.

Defendants admit that Plaintiff was a student at the University of
Georgia in portions of 2015 and 2016 and that he was expelled from the
University in 2016. Defendants deny any other allegations in Paragraph 3.

4.

Defendants admit the allegations in Paragraph 4.
5,

Defendants admit the allegations in Paragraph 5.
6.

Defendants deny the allegations in Paragraph 6.
7.

Defendants deny that any wrongful acts occurred, but admit that the
acts on which this matter is based occurred in Clarke County, Georgia, and
admit that venue is proper in this Court.

8.
Defendants deny the allegations in Paragraph 8.
9.

Defendants admit that Plaintiff, by certified mail, sent the letter

attached to the complaint as Exhibit B, which speaks for itself. Defendants

deny any other allegations in Paragraph 9.
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10.

Defendants admit that Plaintiff was suspended from the University,
effective April 14, 2016, in relation to multiple allegations of misconduct
violating the specified policy, as stated in Exhibit C, which speaks for itself.
Defendants deny any other allegations in Paragraph 10.

11.

Defendants admit that Plaintiff sent the letter attached to the
complaint as Exhibit D, which speaks for itself. Defendants deny any other
allegations in Paragraph 11.

12.

Defendants admit that Morehead’s assistant, Arthur Tripp, sent to
Plaintiff the letter attached to the complaint as Exhibit E, which speaks for
itself. Defendants deny any other allegations in Paragraph 12.

13.

Defendants admit that the University’s Equal Opportunity Office sent
Exhibit F, which speaks for itself, to Plaintiff. Defendants deny any other
allegations in Paragraph 13.

14,
Defendants deny the allegations in Paragraph 14.
FS).

Defendants deny the allegations in Paragraph 15.
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16.

Defendants deny the allegations in Paragraph 16.
17,

Defendants deny the allegations in Paragraph 17.
18.

Defendants admit that Plaintiff, through counsel, sent to Morehead
the letter attached to the complaint as Exhibit G, which speaks for itself.
Defendants deny any other allegations in Paragraph 18.

19.

Defendants admit that Morehead sent to Plaintiff the letter attached
to the complaint as Exhibit H, which speaks for itself. Defendants deny any
other allegations in Paragraph 19.

20.

Defendants admit that Morehead was aware that Exhibit G was
submitted by legal counsel on behalf of Plaintiff. Defendants deny any other
allegations in Paragraph 20.

21.

Defendants admit only that Morehead’s letter of September 8, 2016
(Exhibit H) was sent directly to Plaintiff and not directly to Plaintiffs
counsel. Defendants deny any other allegations in Paragraph 21.

22.

Defendants deny the allegations in Paragraph 22.
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23.

Defendants admit that Plaintiff sent to the Board of Regents the letter
attached to the complaint as Exhibit I, which speaks for itself. Defendants
deny any other allegations in Paragraph 23.

24.

Defendants admit that the Board of Regents, through its Office of
Legal Affairs, sent to Plaintiff's counsel the email attached to the complaint
as Exhibit A, which speaks for itself. Defendants deny any other allegations
in Paragraph 24.

25.

Defendants deny the allegations in Paragraph 25.
26.

Defendants deny the allegations in Paragraph 26.
27.

Any allegations to which Defendants have not otherwise responded are
hereby denied. Defendants deny that they are liable to Plaintiff for any
reason or in any amount.

WHEREFORE Defendants pray that this Court:
1. Enter judgment in their favor and against Plaintiff;
2. Deny Plaintiff all relief;

34 Grant them a jury trial;
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4, Grant them a 12-person jury on any issues not capable of resolution

as a matter of law; and
5. Grant them such other and further relief as the Court may deem
appropriate.
Respectfully submitted this 21st day of May, 2019.

CHRISTOPHER M. CARR 112505
Attorney General

KATHLEEN M. PACIOUS 558555
Deputy Attorney General

SUSAN E. TEASTER 701415
Senior Assistant Attorney General

/s/ Laura L. Lones
LAURA L. LONES 456778
Senior Assistant Attorney General

Attorneys for Defendants
Please Serve:

LAURA L. LONES

Department of Law, State of Georgia
40 Capitol Square, S.W.

Atlanta, Georgia 30334-1300
Telephone: (4404) 463-8850
Facsimile: (404) 651-5304

E-mail: llones@aw.ga.gov
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CERTIFICATE OF SERVICE
I do hereby certify that I have this day served the within and foregoing
ANSWER AND DEFENSES OF DEFENDANTS by depositing a copy
thereof, postage prepaid, in the United States Mail, properly addressed to the
following:
Benjamin Allen

P.O. Box 156
Augusta, Georgia 30903

Submitted this 21st of May, 2019.

/s/Laura L. Lones
LAURA L. LONES 456778
Senior Assistant Attorney General
